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            EXHIBIT 9
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                                                                           Page 1
 1                   UNITED STATES DISTRICT COURT
 2                     DISTRICT OF MASSACHUSETTS
 3

 4   _______________________________
 5   STUDENTS FOR FAIR ADMISSIONS, INC.,
 6                 Plaintiff,
 7    v.                                                   No. 1:14-cv-14176
 8   PRESIDENT AND FELLOWS OF
 9   HARVARD COLLEGE
10   (HARVARD CORPORATION),
11                 Defendant.
12   __________________________
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16            VIDEO DEPOSITION of WILLIAM FITZSIMMONS
17                         Boston, Massachusetts
18                               August 3, 2017
19

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23   Reported by:
24   Dana Welch, CSR, RPR, CRR, CRC
25   Job #127104

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 1                                FITZSIMMONS
 2   Harvard alumni who are interested in helping
 3   Harvard raise money for financial aid and other --
 4   and various other unrestricted purposes to do the
 5   fundraising for Harvard, to talk with people in
 6   their geographic areas, to talk with classmates or
 7   any others who might be interested in helping out.
 8       Q.   So your role was an administrative role?
 9       A.   Yes.
10       Q.   You said you were asked to become director
11   of the fund?
12       A.   I was asked to apply.                  The job was open.
13       Q.   By whom?
14       A.   Principally by Thomas Reardon.
15       Q.   Thomas Reardon?
16       A.   Reardon.
17       Q.   And who is that?
18       A.   I believe at the time he was vice
19   president for alumni affairs and development.
20       Q.   Okay.    How long did you serve at the
21   Harvard Fund?
22       A.   I'd say about a year and a half.
23       Q.   And why did you leave that job?
24       A.   The dean of admissions and financial aid
25   job came open after Fred Jewett was asked to apply

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                                                                           Page 34
 1                                FITZSIMMONS
 2   and received the position of dean of Harvard
 3   College.
 4       Q.   And so you applied for the job at that
 5   time?
 6       A.   Yes.
 7       Q.   Do you remember approximately when that
 8   was?
 9       A.   During periods of 1986, as I recall.
10       Q.   All right.         And I assume you took the job?
11       A.   I did.
12       Q.   And you've served as dean ever since?
13       A.   Yes.
14       Q.   How long -- do you know whether you're the
15   longest-tenured admissions dean in the college's
16   history?
17            MS. ELLSWORTH:            Objection.
18       A.   I don't for certain, but I've been told
19   that I am.
20       Q.   Who do you report to?
21       A.   The dean of the faculty, Michael Smith.
22       Q.   And before Michael Smith, who was in that
23   role?
24       A.   Various people.             Jeremy Knowles, Bill
25   Kirby.   I'm just trying to go back here a little

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                                                                           Page 43
 1                                FITZSIMMONS
 2   try to get people to apply to Harvard?
 3            MS. ELLSWORTH:            Objection.
 4       A.   Yes.    But it's to reach out specifically
 5   to outstanding students from the widest possible
 6   variety of backgrounds to make certain that, we
 7   would hope, every student in America who would have
 8   a chance of being a happy and successful Harvard
 9   student that that person would at least consider
10   Harvard.
11       Q.   Does the associate dean for recruitment
12   also have responsibilities with respect to trying
13   to convince admitted students to attend Harvard?
14       A.   Yes.
15       Q.   Okay.    And is that through the same forms
16   of outreach that you were just discussing?
17       A.   Partially.
18       Q.   What types of outreach?
19       A.   For example, for all of our admitted
20   students we have several opportunities to get to
21   know Harvard better after they've been admitted.
22            Now, one of the major changes just in the
23   past few years has been what we call a virtual tour
24   of Harvard.     And that is even if a student is not
25   able to visit Cambridge, the student can use the

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 1                                FITZSIMMONS
 2   virtual tour to become much better informed about
 3   Harvard.
 4            And that, as you can see with any -- given
 5   the fact that Harvard changes a great deal, we're
 6   always trying to improve Harvard.                       That's a video
 7   that needs to be constantly updated.
 8            But the other part would be inviting
 9   students to come to Cambridge for what we call
10   Visitas, but it's a program that starts on a
11   Saturday in April and ends on Monday in April as to
12   the -- for all the admitted students.
13            And in a typical year, you know, perhaps
14   12- or 1,300, sometimes nearly 1,400 of the
15   students who are admitted -- you know, roughly, a
16   little over 2,000 people typically would be
17   admitted -- are invited to come to Cambridge.                       And,
18   as you can imagine, that's a very complicated
19   endeavor, to make certain that these, you know,
20   very interesting and diverse students have an
21   opportunity to get to know Harvard and get all
22   their questions answered about Harvard during that
23   time.
24            So the student groups I mentioned, the
25   four student groups are a very important part of

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 1                                FITZSIMMONS
 2   helping that weekend become successful.                       But, you
 3   know, we have to call on lots of students to room
 4   students and also to conduct events for the
 5   students so that they can get to know Harvard well.
 6   And, you know, what we really want is to make sure
 7   that they understand how Harvard might be a good
 8   match for them, whether it's the best match for
 9   them relative to many other good colleges.
10            Another thing that happens that weekend --
11   and it was, I guess, demonstrated in fairly stark
12   terms the year of the Boston Marathon tragedy that
13   that occurred -- the events after the marathon led
14   us to have to cancel the visiting program just as
15   it was beginning.         And so one of the things we were
16   able to do because we had such a comprehensive
17   program in place we were able to, working with our
18   undergraduate student groups -- the four I
19   mentioned but also other students, to produce what
20   we called a virtual Visitas.                   In other words, a
21   virtual visiting weekend so that even though most
22   of the students couldn't be with us that weekend
23   because of situations in Boston, we were able to
24   present to them, you know, what Harvard was all
25   about.

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 1                                 FITZSIMMONS
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 1                                 FITZSIMMONS
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                                                                       Page 80
 1                                 FITZSIMMONS
 2   things they do.
 3       Q.    Other than people who contact Harvard and
 4   the test result purchases, how do they go about
 5   identifying the targets of that recruitment?
 6             MS. ELLSWORTH:            Objection.
 7       A.    Some of them, as an example, will go back
 8   to their home towns during school breaks, for
 9   example, or attend summer programs in various
10   locations.     So there are a variety of things that
11   they would do.
12       Q.    Do you know, for example --
13             MR. STRAWBRIDGE:              Strike that.
14       Q.    Did you say that UMRP, current students at
15   Harvard who are UMRP recruiters, did you say that
16   they are -- are they assigned students of the same
17   ethnic background to recruit?
18       A.    Generally.
19       Q.    Why is that?
20       A.    Oftentimes in recruiting, if you can
21   envision yourself in -- with the person you are
22   talking to, it can be helpful in making a case to a
23   student that Harvard would be a comfortable place
24   for a potential Harvard student.
25       Q.    Do you know how many UMRP recruiters there

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                                                                       Page 83
 1                                 FITZSIMMONS
 2   individual?
 3             MS. ELLSWORTH:            You can answer the
 4   question at a general level.
 5       A.    Yes.
 6       Q.    It will be positive?
 7       A.    Yes.
 8       Q.    Has Harvard used race, considered the race
 9   of applicants as part of its admissions
10   decision-making during the entirety of your time in
11   the admissions office?
12             MS. ELLSWORTH:            Objection.
13       A.    Yes.
14       Q.    Has the way in which it uses race changed
15   over the years?
16             MS. ELLSWORTH:            Objection.
17       A.    Not to my knowledge.
18       Q.    At any point in time has race been given a
19   lesser or greater weight in the evaluation of
20   candidates?
21             MS. ELLSWORTH:            Objection.
22       A.    Not in my estimation.
23       Q.    What about in your personal practice of
24   reading your own files?
25       A.    No.

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                                                                       Page 84
 1                                 FITZSIMMONS
 2       Q.    Has the way in which Harvard uses race
 3   changed since the filing of this lawsuit?
 4             MS. ELLSWORTH:            Objection.
 5       A.    No.
 6       Q.    And has the way in which Harvard uses race
 7   changed since --
 8             MR. STRAWBRIDGE:              Strike that.
 9       Q.    Are you familiar with the website Harvard
10   Not Fair?
11       A.    I've heard of it.
12       Q.    Are you aware that there was a website
13   launched in the spring of 2014 entitled "Harvard
14   Not Fair"?
15       A.    Yes.
16       Q.    Has the way in which Harvard uses race
17   changed at all since the launch of that website?
18             MS. ELLSWORTH:            Objection.
19       A.    No.
20       Q.    Why does Harvard think race or ethnicity
21   should be considered as a factor in the admissions
22   process?
23             MS. ELLSWORTH:            Objection.
24       A.    We believe that the backgrounds of
25   students, including their ethnic backgrounds, is

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                                                                       Page 93
 1                                  FITZSIMMONS
 2             MS. ELLSWORTH:             Objection.
 3       A.    Our reports are generated for the -- you
 4   know, for the federal reporting purposes and for
 5   information to our -- anybody in our community who
 6   is interested in the general idea of where we are.
 7       Q.    In fact, is Harvard's internal reporting
 8   limited only to the federal method of racial
 9   reporting?
10             MS. ELLSWORTH:             Objection.
11       A.    I'm not sure what you mean by Harvard
12   reporting.
13       Q.    Are you familiar with IPEDS methodology?
14       A.    Yes.
15       Q.    What's the IPEDS methodology?
16       A.    That's the integrated postsecondary
17   education material that we provide to the federal
18   government.
19       Q.    And that's the standard under which
20   information about ethnic identity is provided for
21   federal government reporting purposes, correct?
22       A.    For federal purposes.
23       Q.    Right.
24             And the IPEDS method of determining racial
25   identity depends, I guess, on a single algorithm

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 1                                  FITZSIMMONS
 2   about choices that one makes when filling out
 3   racial identity information, correct?
 4       A.    Yes.
 5       Q.    In other words, the first question asks if
 6   you are Hispanic or not, I believe.                           Is that the
 7   first question?
 8       A.    That's my understanding.
 9       Q.    Right.      And if you check the box that you
10   are Hispanic, you then go into the Hispanic
11   category for federal reporting purposes, correct?
12       A.    Yes.
13       Q.    And then if you don't check that box,
14   you're given a series of other choices, and you can
15   check multiple boxes if you wish, correct?
16             MS. ELLSWORTH:             Objection.
17       A.    Yes.
18       Q.    And for IPEDS purposes, if you check more
19   than one box you are identified as multiracial,
20   correct?
21             MS. ELLSWORTH:             Objection.
22       A.    Yes.
23       Q.    If you check only one box, then you are
24   reported out as whatever the one box that you
25   checked was, correct?

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 1                                  FITZSIMMONS
 2             MS. ELLSWORTH:             Objection.
 3       A.    I'm not sure that's technically correct.
 4       Q.    Why?    What do you think's wrong about
 5   that?
 6       A.    If you identified yourself as Hispanic --
 7       Q.    Right.
 8       A.    -- that would be the only ethnicity
 9   report.
10       Q.    Right.      If you checked yourself as
11   Hispanic and white, for example, you would be
12   reported as Hispanic and not multiracial?
13       A.    My understanding.
14       Q.    But if you identify yourself as white and
15   Asian, you would be reported as multiracial?
16             MS. ELLSWORTH:             Objection.
17       A.    That's my understanding.
18       Q.    Does Harvard, when it does its own
19   internal reports, confine itself to the IPEDS
20   methodology?
21             MS. ELLSWORTH:             Objection.
22       A.    No.
23       Q.    No.    In fact, Harvard does report for its
24   own internal recordkeeping purposes racial results
25   in manners that diverge from the IPEDS method,

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 1                                 FITZSIMMONS
 2   correct?
 3             MS. ELLSWORTH:            Objection.
 4       A.    We use both IPEDS and a more comprehensive
 5   system.
 6       Q.    And the more comprehensive system has
 7   changed recently, correct?
 8       A.    Yes.
 9       Q.    There used to be an old methodology?
10       A.    Yes.
11       Q.    And now there's one that's called,
12   fittingly enough, the new methodology?
13       A.    Yes.
14       Q.    What was the old methodology?
15       A.    It's old enough so I'm not sure I can be
16   absolutely precise about what -- how it was
17   constructed.      It was a system in which the area
18   person tried to represent the background of the
19   applicant as comprehensively as possible.
20       Q.    And was there a hierarchy for the old
21   methodology?
22             MS. ELLSWORTH:            Objection.
23       A.    Depending on the year, there was
24   occasionally a -- I'm not sure I would call it a
25   hierarchy, but there was a set of choices.

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 1                                 FITZSIMMONS
 2       Q.    For example, if someone checked themselves
 3   as black and Asian under the old methodology, how
 4   would they be characterized for Harvard internal
 5   reporting purposes?
 6       A.    It would depend on not simply the fact
 7   that two boxes were checked, but it would also
 8   depend on a thorough reading of the application.
 9       Q.    Do you know, is this the -- whatever the
10   reader determined was the most accurate
11   representation of the ethnic background, is that
12   what Harvard would put in the ethnic group code
13   field of its database?
14             MS. ELLSWORTH:            Objection.
15       A.    Whatever the reader put was a starting
16   point and then the folder, of course, would go
17   through the normal reading process and then go
18   through the committee process, at which point it's
19   possible that the committee might decide that a
20   different coding would make sense.
21       Q.    Under that system, was essentially
22   everybody characterized as one race as opposed to
23   multi races?
24       A.    Generally.
25       Q.    Can you think of exceptions?

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 1                                 FITZSIMMONS
 2       A.    I can certainly remember times when people
 3   were considered to be too complex to use one
 4   category so that for operational purposes, as
 5   students were considered, they were considered as
 6   bringing educational value from a variety of
 7   different backgrounds.
 8       Q.    And how would they be counted for purposes
 9   of the reports that Harvard would generate?
10       A.    I'm not precisely sure in those cases.
11   It's been a while.
12       Q.    Do you know whether it's still required
13   just as a matter of data tracking to pick one race?
14             MS. ELLSWORTH:            Objection.
15       A.    It is not now.
16       Q.    No -- then.         I'm talking about the old
17   methodology.
18       A.    I couldn't say precisely.
19       Q.    What's the new methodology?
20       A.    The new methodology simply reflects the
21   choices the student made when he or she was filling
22   out the common application.                   We also get some
23   information from the testing services as well, but
24   this is all self-identification.
25       Q.    And so under the new methodology, if

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                                                                       Page 99
 1                                 FITZSIMMONS
 2   someone identifies themselves as white and Asian,
 3   are they counted as both for Harvard reporting
 4   purposes?
 5       A.    Yes, best of my knowledge, yeah.
 6       Q.    Does Harvard's new methodology have a
 7   multiracial category?
 8       A.    I believe it does.
 9       Q.    And what distinguishes between whether
10   someone is designated as multiracial or multiple
11   individual racial identities?
12       A.    It would be a judgment call on the part of
13   the staff member and, perhaps, the committee later.
14       Q.    Does -- so in any event, the new
15   methodology, among other things, the new
16   methodology does have a statistical difference in
17   that it will count people twice for purposes of
18   some of the reports, correct?
19       A.    It could, yes.
20       Q.    In other words, if you were to run a
21   report of the number of Asian applicants and the
22   number of white applicants, someone who had been
23   identified as white and Asian, who had identified
24   themselves as white and Asian would be counted in
25   both categories?

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 1                                 FITZSIMMONS
 2             MS. ELLSWORTH:            Objection.
 3       A.    It's my understanding that the faculty was
 4   consulted in a variety of ways.
 5       Q.    Basically through anecdotal reporting?
 6       A.    I don't remember precisely how that was
 7   done.
 8       Q.    Is there a level of racial diversity that
 9   Harvard thinks is needed in order to obtain those
10   benefits?
11             MS. ELLSWORTH:            Objection.
12       A.    There's no way we could ever measure that
13   kind of thing.
14       Q.    You previously told me, I think, that it's
15   very important to Harvard to have people from a
16   wide variety of racial backgrounds on campus; is
17   that right?
18       A.    Yes.
19       Q.    Is it very important to have a particular
20   amount of people from those racial backgrounds on
21   campus?
22             MS. ELLSWORTH:            Objection.
23       A.    There isn't any way one could try to
24   quantify something like that.
25       Q.    Could you put a rough range on it?

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 1                                 FITZSIMMONS
 2             MS. ELLSWORTH:            Objection.
 3       A.    I really can't.
 4       Q.    Would one person from each racial
 5   background be enough?
 6             MS. ELLSWORTH:            Objection.
 7       A.    I -- again, there's no way for me to try
 8   to quantify with any number or range or anything of
 9   that sort.
10       Q.    Is it possible that one person from each
11   racial background would be enough?
12             MS. ELLSWORTH:            Objection.
13       A.    I don't know.
14       Q.    You don't know?             You can't say?
15             MS. ELLSWORTH:            Objection.
16       Q.    No?
17       A.    Again, I believe that it's not possible to
18   quantify this kind of thing.
19       Q.    All right.        So can you say whether or not
20   Harvard could achieve the educational benefits from
21   racial diversity if its campus were 80 percent
22   white, 10 percent black, 10 percent Hispanic, and
23   10 percent Asian?
24             MS. ELLSWORTH:            Objection.
25             (Simultaneous speaking.)

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                                                                      Page 116
 1                                 FITZSIMMONS
 2       A.    Did you get 110 percent?
 3       Q.    Let's make it 70 percent white.
 4       A.    Are you double counting?
 5       Q.    One of us didn't go to Harvard, for sure.
 6   That's what I get for following my notes.
 7             Let's go 70 percent white, 10 percent
 8   black, 10 percent Hispanic, and 10 percent Asian.
 9   Can you opine as to whether that would be
10   sufficient to achieve the educational benefits of
11   racial diversity?
12             MS. ELLSWORTH:            Objection.
13       A.    I don't think there's any way to quantify
14   that kind of thing.           We know Harvard provides a
15   much richer educational experience today than it
16   did during my time at Harvard as an undergraduate
17   because we have such a wide range of people from so
18   many different ethnic backgrounds.
19       Q.    Do you think that Harvard has any
20   particular interest in ensuring that --
21             MR. STRAWBRIDGE:              Strike that.
22       Q.    Do you have any view as to whether or not
23   the educational benefits of diversity are being
24   realized over at MIT?
25             MS. ELLSWORTH:            Objection.

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                                                                      Page 143
 1                                 FITZSIMMONS
 2       Q.    Yes.
 3       A.    No.
 4       Q.    Do you know how many applications, on
 5   average, contain that information in those
 6   statements?
 7             MS. ELLSWORTH:            Objection.
 8       A.    There's no way to estimate that.
 9       Q.    So do you think that Harvard could reach a
10   holistic admissions decision about a candidate that
11   had not provided information about their race?
12       A.    Not one that would be consistent with the
13   educational mission of Harvard College, which is to
14   educate future leaders from every ethnic background
15   and have those students educate each other over the
16   four years and go out and do -- we hope to become
17   citizens and citizen leaders in the world later.
18       Q.    So you think race is an essential piece of
19   an application file?
20             MS. ELLSWORTH:            Objection.
21       A.    Yes.
22       Q.    Does Harvard make admissions decisions
23   with respect to people who have not identified
24   their race?
25             MS. ELLSWORTH:            Objection.

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                                                                      Page 147
 1                                 FITZSIMMONS
 2   Harvard can stop using race in the admissions
 3   process --
 4             MS. ELLSWORTH:            Objection.
 5       Q.    -- and still achieve its mission?
 6       A.    There's nothing I -- no evidence I've seen
 7   over the years, especially given the fact that we
 8   have reached out aggressively in so many ways to
 9   get people that would -- using, you know, means
10   that many people would call race-neutral.
11       Q.    You're familiar with Martin Luther King
12   Junior's speech regarding one day he hopes his
13   children can be considered for the content of their
14   character and not the color of their skin?
15       A.    I'm not familiar with the specific
16   wording.    You have it in front of you?
17       Q.    We can get it.            Have you heard that quote
18   before?
19       A.    I've heard that quote.
20       Q.    Do you agree with the idea?
21       A.    The idea in my -- as I heard the speech
22   initially, and as I've heard the speech over the
23   years, the way I would hear the speech would be
24   that you would not be discriminated against on the
25   basis of the color of your skin and that your

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                                                                             Page 153
 1                                 FITZSIMMONS
 2   about whether Harvard should stop using race, can
 3   you conceive of a world in which you think that
 4   Harvard could stop using race in the admissions
 5   process?
 6             MS. ELLSWORTH:            Objection.
 7       A.    It's impossible to predict, you know, what
 8   the future might hold.              People who, you know, try
 9   to do so are often quite wrong.
10       Q.    Is Harvard attempting to obtain critical
11   mass of any particular ethnic group at the college?
12       A.    I'm not sure what you would mean by
13   critical mass.
14       Q.    Have you heard that term before?
15       A.    I've heard it in physics.                     I've heard it
16   in, you know, in -- you know, I've heard the term
17   before.
18       Q.    Have you heard it used with respect to the
19   use of race in college admissions?
20       A.    Occasionally.
21       Q.    Is it ever used at Harvard?
22             MS. ELLSWORTH:            Objection.
23       A.    I have never used it.
24       Q.    Have you ever used it to describe what
25   Harvard's attempting to achieve?

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                                                                      Page 154
 1                                 FITZSIMMONS
 2       A.    No.
 3       Q.    I take it, then, that Harvard does not
 4   have its own definition of what constitutes
 5   critical mass?
 6             MS. ELLSWORTH:            Objection.
 7       A.    I certainly don't.
 8       Q.    And if I understand your testimony
 9   previously, you can't provide any range or
10   quantification of what level of racial diversity is
11   sufficient to achieve Harvard's educational goals?
12             MS. ELLSWORTH:            Objection.
13       A.    That would be correct.
14       Q.    When Harvard considers the race of
15   applicants for admission, does it consider the race
16   of every student who provides that information?
17       A.    We'd be aware of it.
18       Q.    Is it something that would actually factor
19   into your decision-making?
20       A.    In an individual case, it could be one
21   piece of information that, among many, that --
22   pieces of information that people would look at as
23   it votes.     You know, 40 people vote on -- to admit
24   people.
25       Q.    Is that true with respect to white

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                                                                      Page 157
 1                                 FITZSIMMONS
 2         Q.   In your experience, is race sometimes a
 3   decisive factor?
 4              MS. ELLSWORTH:           Objection.
 5         A.   It's impossible to say in any individual
 6   case.
 7         Q.   You don't think -- in all your years in
 8   the office, you don't think that race or ethnicity
 9   was the thing that pushed a candidate over the edge
10   into the admitted pool?
11              MS. ELLSWORTH:           Objection.
12         A.   Again, candidates are admitted for a whole
13   variety of different reasons, not simply because
14   they're from one ethnic group or another.
15              There are students who perhaps have been
16   particularly active in cultural activities and so
17   on.    But, again, there's no way to, you know, when
18   40 people are listening in some cases for half an
19   hour or more to a single application and discussing
20   that application, exactly why they would choose to
21   admit that applicant -- just impossible to quantify
22   that kind of thing.
23         Q.   Is it your testimony that a student's
24   white ethnicity is a factor that is considered in
25   the admission process?

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                                                                               Page 168
 1                                 FITZSIMMONS
 2       Q.    The question, again, this is for the time
 3   frame prior to the filing of this lawsuit in
 4   2000- --
 5       A.    Oh, I see, okay.              Before --
 6       Q.    Yeah.    Did you -- yes or no?                     Had you done
 7   any analysis as to what would happen if Harvard
 8   stopped using race in the admissions process?
 9             MS. ELLSWORTH:            Objection.
10       A.    It's a hard question to answer.                       Just say
11   it again.     Just frame it again for me.
12             MR. STRAWBRIDGE:              Why don't I ask the
13   reporter to read this one back.
14             THE WITNESS:          Okay.         Sorry.
15             (Preceding question read.)
16       A.    The answer would technically be no, but we
17   analyze every year what it is we have done.                         You
18   know, there was no formal study, but we review
19   carefully what we do every year and we, again,
20   believed every year, especially after all the
21   massive changes that we've made, that it was still
22   vital for us to be able to use race and ethnicity
23   in the admissions process.
24       Q.    And when you say you look at what you did
25   and made this decision, is that a formal process?

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                                                                           Page 173
 1                                 FITZSIMMONS
 2             And in the end, did the subject or the
 3   term ever come up in conversations with staff or
 4   with others?      I'm sure that it probably did.                  I
 5   don't remember it specifically.                      But in the end I
 6   think we were, you know, we simply, you know, there
 7   was no evidence after making all these changes that
 8   cost Harvard many, many millions of dollars -- you
 9   know, our financial aid budget has rocketed skyward
10   since we've made many of these changes and so on,
11   in all kinds of different ways -- and still we feel
12   it's absolutely vital to be able to use race and
13   ethnicity as we both recruit and assemble and then
14   admit the best possible class every year.
15       Q.    Do I understand your testimony to be you
16   do not remember any specific discussion about
17   whether these changes meant that Harvard could stop
18   using race in the admissions process?
19             MS. ELLSWORTH:            Objection.
20       A.    I don't remember a specific formal
21   discussion on the subject, but because it's so much
22   a part of what all colleges do, it was certainly
23   one concept that has certainly informed the work
24   we've done over the years.
25       Q.    Do you remember any specific informal

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                                                                      Page 174
 1                                 FITZSIMMONS
 2   discussion on the topic?
 3             MS. ELLSWORTH:            Objection.
 4       A.    Again, it's so much a part of what we do,
 5   I don't remember the specific -- I don't have a
 6   scene in my mind that would, you know, where this
 7   topic was discussed.            But it's such an integral
 8   concept in college admissions.
 9       Q.    Were any of these endeavors that you just
10   described adopted with the goal of ceasing the use
11   of race in the admissions process?
12             MS. ELLSWORTH:            Objection.
13       A.    Many of these were simply designed to
14   allow us to further our efforts to get the best
15   possible class that we could across the board, and
16   that would include, you know, getting the strongest
17   minority students that we could get from every
18   background.
19       Q.    Were they adopted with the goal of ceasing
20   the use of race in the admissions process?
21             MS. ELLSWORTH:            Objection.
22       A.    The goal was really to get the best class
23   that we could get and get the class that would be
24   comprised of the best educators of others.
25       Q.    But was one of the goals to stop using

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                                                                         Page 178
 1                                 FITZSIMMONS
 2   achieved without using race in the admissions
 3   process?
 4             MS. ELLSWORTH:            Objection.
 5       A.    Again, I think any reasonable person would
 6   have an open mind in receiving any new information
 7   that -- any reasonable person or institution, I
 8   think, would take into account new information.
 9       Q.    And today your testimony is you can't
10   imagine what it would take for you to be convinced
11   that you should stop using race in the admissions
12   process?
13             MS. ELLSWORTH:            Objection.
14       A.    That would be true.
15       Q.    Was that any different four years ago?
16       A.    Four years ago?             No.
17       Q.    Was it any different three years ago?
18       A.    Could you ask the question again?                  Just
19   make sure I understand it.
20       Q.    Yes.
21             Four years ago, could you imagine evidence
22   that would change your mind as to whether or not
23   Harvard should stop using race in the admissions
24   process?
25             MS. ELLSWORTH:            Objection.

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                                                                        Page 179
 1                                 FITZSIMMONS
 2       A.    You know, I think -- again, I think a
 3   reasonable person or reasonable institution would
 4   always keep an open mind about anything.                     I mean,
 5   new information comes in but that despite massive
 6   efforts that people would reasonably call
 7   race-neutral efforts to make a difference, there's
 8   still no case in our minds that, despite all the
 9   things that we've done that we could achieve our
10   goal of having a diverse class and an effective
11   educational experience without using race.
12       Q.    You keep saying that these are efforts
13   that people could reasonably call race-neutral
14   alternatives.      Did you ever call them race-neutral
15   alternatives at the time you were considering them?
16             MS. ELLSWORTH:            Objection.
17       A.    I -- certainly in my own mind, we're well
18   aware of the fact that all of these -- lots of
19   articles have been written, certainly, that all of
20   these kinds of things were -- were changes that
21   would be reasonably labeled race-neutral.
22       Q.    Do you ever remember using that label to
23   describe these specific efforts that were
24   implemented at Harvard?
25       A.    I don't recall specifically.

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                                                                                Page 180
 1                                 FITZSIMMONS
 2       Q.    Do you recall anybody else in the
 3   admissions office using that label specifically to
 4   describe these initiatives prior to the filing of
 5   this lawsuit in 2014?
 6       A.    I don't have a specific recollection, but
 7   I know I and others were certainly aware that
 8   that's what these things were called by many
 9   people.
10       Q.    Are you aware of any formal analysis on
11   paper that purports to analyze how these could be
12   used and what the result of them would be instead
13   of using race?
14             MS. ELLSWORTH:            Objection.
15       A.    Formal analysis?
16       Q.    Something in writing.
17       A.    Something that doesn't -- nothing as
18   specific as what you're describing comes to mind.
19       Q.    Does Harvard provide -- has Harvard --
20   strike that.
21             Since this lawsuit, are you aware of any
22   such formal analysis?
23             MS. ELLSWORTH:            Objection.               I'll remind
24   the witness not to disclose anything learned from
25   counsel or actions taken at the direction of

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                                                                               Page 181
 1                                 FITZSIMMONS
 2   counsel in answering the question.                           If you can
 3   answer the question without disclosing that
 4   information, you may do so.
 5       A.    I think the answer to that question would
 6   be in the interrogatory regarding -- I believe, if
 7   I understand your question, the Ryan committee and
 8   then the committee that Dean Khurana and Dean Smith
 9   and I are on.
10       Q.    Other than the output of that committee,
11   are you aware of any other analysis that's been
12   done with respect to race-neutral alternatives?
13       A.    At Harvard?
14       Q.    At Harvard?
15             MS. ELLSWORTH:            Again, I'll give the same
16   instruction or reminder not to disclose any action
17   taken at the direction of counsel or communication
18   of counsel in answering that question.                           If you can
19   answer the question without disclosing that
20   information, you may.
21       A.    The question again, I'm sorry.
22       Q.    Other than the output of those committees,
23   are you aware of any formal analysis?
24       A.    Not any that immediately come the mind.
25       Q.    If you had some time to think about it

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                                                                      Page 188
 1                                 FITZSIMMONS
 2       Q.    Do you remember when you had these
 3   conversations with Ms. Bever?
 4       A.    I don't specifically, but she's worked
 5   with us for three years.
 6       Q.    Do you know if it was at the beginning or
 7   later in your tenure?
 8       A.    It's hard to say in the always busy --
 9   any three-year period is very busy in our world.
10   I would guess it was somewhere in the middle, but
11   that's just a guess.
12       Q.    You think it's work she's done since she
13   came over to the admissions office?
14       A.    My guess is yes because it wasn't possible
15   before then.
16       Q.    Has Harvard analyzed whether it could
17   achieve racial diversity by curtailing or ending
18   the tip that it gives to legacy admits?
19             MS. ELLSWORTH:            Objection.
20       A.    Could you repeat that.
21       Q.    Has Harvard analyzed whether it could
22   achieve racial diversity by curtailing the tip or
23   ending the tip that it gives to legacy admits?
24             MS. ELLSWORTH:            Objection.
25       A.    Using legacy status as one factor among

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                                                                                Page 189
 1                                 FITZSIMMONS
 2   many as we make our admissions decisions is
 3   essential to Harvard's well-being in a number of
 4   different ways.        And so it is not a factor that
 5   we're looking at right now in terms of making a
 6   change.
 7       Q.    Have you ever looked at in terms of making
 8   a change?
 9             MS. ELLSWORTH:            Objection.
10       A.    Not specifically with that goal in mind.
11       Q.    Do you know, in fact, if you ended the
12   legacy preference, what effect that would have on
13   the racial composition of the admitting class?
14             MS. ELLSWORTH:            Objection.               Again, I'll
15   remind the witness not to disclose any
16   communications with counsel or actions taken at the
17   direction of counsel in answering the question.
18       A.    Some -- some of the information that I
19   have was conducted at the direction of counsel, so
20   I feel that I cannot disclose that.
21       Q.    Is there any information you can disclose
22   that was not directed by counsel?
23       A.    Not that comes to mind.
24       Q.    You would agree that as a whole, the
25   legacy applicant pool is, on average, less

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                                                                      Page 190
 1                                 FITZSIMMONS
 2   ethnically diverse than the non-legacy applicant
 3   pool?
 4             MS. ELLSWORTH:            Objection.
 5       A.    Currently that would be the case.
 6       Q.    Is the legacy applicant pool roughly
 7   70 percent white today?
 8       A.    I don't have a specific number.
 9       Q.    Do you know if that sounds anywhere close?
10             MS. ELLSWORTH:            Objection.
11       A.    I don't, off the top of my head.
12       Q.    Do you know what the other ethnic
13   breakdown of the legacy pool would be?
14             MS. ELLSWORTH:            Objection.
15       A.    What do you mean by the other?
16       Q.    By other ethnicities?
17             MS. ELLSWORTH:            Objection.
18       A.    Not specifically.
19       Q.    Do you know generally?
20       A.    Only that there are -- as every year goes
21   by there are more and more alumnae, alumni sons and
22   daughters who come from minority backgrounds of all
23   kinds.
24       Q.    Do you think that the importance of --
25             MR. STRAWBRIDGE:              Strike that.

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                                                                         Page 191
 1                                 FITZSIMMONS
 2       Q.    Why do you think it's important to Harvard
 3   to maintain a legacy preference?
 4             MS. ELLSWORTH:            Objection.
 5       A.    There are really many reasons why that
 6   would be so.      Alumnae, alumni are vitally important
 7   in Harvard Club activities, Harvard Alumni
 8   Association activities around the country and
 9   around the world in helping advance Harvard's
10   mission in the world.
11             As an example, there are over 10,000
12   alumnae and alumni who help us with recruiting and
13   interviewing candidates, so just that piece of it
14   alone is very, very important.
15             There are also alumnae and alumni who help
16   us -- really, I guess the thing to think about
17   would be Harvard Club activities generally and with
18   what we call the schools and scholarship piece, the
19   10,000 alumnae and alumni.                    We would -- without
20   them we certainly would not end up with the strong
21   and diverse classes that we have because their help
22   in reaching out to students, going to college
23   nights, doing all kinds of very important things to
24   help strengthen and diversify our pool, you know,
25   is very, very important.

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 1                                 FITZSIMMONS
 2             In April, after students are admitted, for
 3   example, they are very important in terms of
 4   conducting admit parties for people from their
 5   local areas and also in some cases sending people
 6   to Cambridge for visits.                So that part of it is
 7   very important.
 8             It's also the case that alumnae and alumni
 9   make an enormous difference in our ability to have
10   a strong financial aid program, and by advancing,
11   for example, Harvard's cutting-edge research and
12   advancing Harvard's mission across the board,
13   without the financial help both in terms of giving
14   money and raising money, Harvard would be nowhere
15   near the strong institution it is today and we
16   would be -- you know, Harvard would be,
17   unfortunately, a very different place.                       It would be
18   far less diverse socioeconomic, ethically, and
19   poorer in every way.            And we would be in a much
20   worse position in advancing our research agenda
21   that we believe is very important, not just in the
22   life sciences, but really across the board.
23       Q.    Are you aware of any empirical evidence
24   about the number of school committee members who
25   would stop interviewing if the department ceased

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                                                                      Page 193
 1                                 FITZSIMMONS
 2   giving a legacy tip?
 3             MS. ELLSWORTH:            Objection.
 4       A.    I have not seen a particular study on
 5   that.
 6       Q.    Are you aware of any empirical evidence
 7   with respect to the extent to which Harvard alumni
 8   would stop donating to Harvard if the admissions
 9   office ceased giving a legacy tip?
10             MS. ELLSWORTH:            Objection.
11       A.    Again, no specific study on that
12   particular dimension.
13       Q.    Are you aware of any analysis as to
14   the extent to which Harvard alums would stop
15   participating in other activities besides financial
16   donation and alumni interviews if Harvard stopped
17   giving a legacy tip?
18             MS. ELLSWORTH:            Objection.
19       A.    There have not been formal studies.                There
20   have certainly been people who have ceased being a
21   part of Harvard in various ways because a son or
22   daughter was not admitted.
23       Q.    Have there been people who have kept
24   giving even when their son or daughter was not
25   admitted?

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 1                                 FITZSIMMONS
 2       A.    I'm not sure that -- my simple answer
 3   would be no, but perhaps I don't understand the
 4   question.
 5       Q.    I thought you just said a lot of these
 6   people are very qualified and could get into
 7   Harvard anyway?
 8             MS. ELLSWORTH:            Objection.
 9       A.    First of all, they may well not have
10   applied had they not had some association with
11   Harvard in the first place.                   And so that is one of
12   the things that actually gets -- some of the very
13   best students we have had in recent memory, in
14   fact, have been alumni, alumnae sons and daughters.
15             So it would certainly hurt our efforts to
16   get the strongest possible class if some of -- if
17   we did not have some of these students who had
18   applied because they knew that that was one factor
19   among many.
20       Q.    Can you say what it would take to convince
21   you that the legacy tip could go away?
22             MS. ELLSWORTH:            Objection.
23       A.    No.
24       Q.    Does Harvard give socioeconomic -- does
25   Harvard give socioeconomically challenged

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 1                                 FITZSIMMONS
 2   applicants a positive tip in the admissions
 3   process?
 4             MS. ELLSWORTH:            Objection.
 5       A.    It would be one factor among many that
 6   could be seen by individual readers and voters as a
 7   reason to vote favorably for a student from such a
 8   background.
 9       Q.    How does Harvard determine whether or not
10   an applicant is socioeconomically disadvantaged?
11       A.    It's complex.           We'd know from the
12   application, obviously, whether or not the student
13   had applied for financial aid.                     We also have
14   information at the outset about the parents'
15   educational and professional backgrounds.                     We also,
16   because we have an area-person system, among other
17   things, oftentimes the people who are the first
18   readers or certainly those on subcommittees might
19   have a sense of where the person came from
20   geographically and within a geographic area that
21   might give information about the socioeconomic
22   background.
23             There is often additional information that
24   we are able to get from some of the preliminary
25   research that Erica Bever conducted to taking a

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                                                                                 Page 214
 1                                 FITZSIMMONS
 2       Q.    And do you know why the Ryan committee was
 3   asked to look at race-neutral admissions?
 4             MS. ELLSWORTH:            Objection.               Reminder not
 5   to disclose communication with counsel in answering
 6   the question.
 7       A.    I don't really know, based -- I don't know
 8   what discussions, you know, Dean Ryan had with
 9   others, so I simply don't know.
10       Q.    How often did the Ryan committee meet?
11       A.    I believe it met perhaps three times.
12       Q.    Before the Ryan committee, are you aware
13   of any other committee at Harvard that was tasked
14   with analyzing race-neutral admissions?
15             MS. ELLSWORTH:            Objection.
16       A.    No committee with that specific charge.
17       Q.    Are you aware of any committee that
18   specifically discussed race-neutral admissions to
19   replace the use of race in Harvard's admissions
20   process?
21             MS. ELLSWORTH:            Objection.
22       A.    I don't.
23       Q.    Do you expect that you would be aware of
24   any such committee, given your role as dean of
25   admissions?

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                                                                      Page 215
 1                                 FITZSIMMONS
 2             MS. ELLSWORTH:            Objection.
 3       A.    Yes.
 4             (Exhibit 2, HARV00007486 - 7488, marked for
 5       identification.)
 6             MR. STRAWBRIDGE:              Let me know if you
 7       recognize this document.
 8             THE WITNESS:          I do.
 9       Q.    What is this document?
10             MS. ELLSWORTH:            Why don't you read the
11   document.
12       A.    I should read it first.
13       Q.    Did you look at this document in prep?
14       A.    I believe I did, but I would like to
15   review it again.
16       Q.    Do you need to read the whole thing?
17       A.    It would be helpful.                 Just give it...
18       Q.    You had a chance to review this?
19       A.    Yes.
20       Q.    Okay.    Is it an invitation to you to serve
21   on the Ryan committee?
22       A.    Yes.
23       Q.    And in the cover e-mail, do you see, this
24   is an e-mail from Drew Faust?
25       A.    Yes.

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                                                                                Page 220
 1                                 FITZSIMMONS
 2   Not Fair was one of the reasons why the Ryan
 3   committee was put together?
 4              MS. ELLSWORTH:           Objection.               You can answer
 5   that as a yes-or-no question.
 6         A.   I don't know.
 7         Q.   You don't know.
 8              You said the committee met three times?
 9         A.   I believe.
10         Q.   Did you go to all three meetings?
11         A.   I don't think so.
12         Q.   And why don't you think so?
13              MS. ELLSWORTH:           Objection.
14         A.   Because I can't recall whether I attended
15   all three.
16         Q.   Did you go to some of the meetings?
17         A.   I know I attended at least one.
18         Q.   What was discussed at the meeting you went
19   to?
20              MS. ELLSWORTH:           Objection.               Again, I'll
21   remind the witness not to disclose communications
22   with counsel.      You can otherwise answer the
23   question.
24         A.   See if I understand.                The committee was --
25   there was counsel present, and --

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                                                                              Page 224
 1                                 FITZSIMMONS
 2       Q.    Which counsel?
 3       A.    I don't remember specifically because I've
 4   been in lots of meetings with lots of people.
 5       Q.    Was anyone from WilmerHale there?
 6       A.    I don't recall anyone from WilmerHale
 7   there.
 8       Q.    Can you say for sure whether anyone from
 9   WilmerHale was at any of the Ryan committee
10   meetings?
11       A.    I cannot say.
12       Q.    The Ryan committee, did you speak to Jim
13   Ryan to prepare for today's testimony?
14       A.    No.
15       Q.    You said the Ryan committee; you're no
16   longer a member of the Ryan committee?
17       A.    I don't know the status of -- the Ryan
18   committee's work was suspended because of this
19   litigation.
20       Q.    And why was that?
21       A.    I don't --
22             MS. ELLSWORTH:            Objection.               I won't allow
23   the witness to answer the question.
24             THE WITNESS:          You will or won't?
25             MS. ELLSWORTH:            I will not allow the

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                                                                         Page 225
 1                                 FITZSIMMONS
 2   witness to answer the question.                      So I'm instructing
 3   you not to answer the question.
 4       Q.    Can you tell me anything --
 5             MR. STRAWBRIDGE:              Strike that.
 6       Q.    When was the last time the committee did
 7   anything with respect to race-neutral alternatives?
 8             MS. ELLSWORTH:            Objection.
 9       A.    I don't know.
10       Q.    Okay.    And can you tell me anything about
11   why the committee suspended its work without
12   disclosing information that your attorney is
13   asserting violates the privilege of
14   attorney-client?
15             MS. ELLSWORTH:            I'm not sure the witness
16   can answer the question that way.
17             MR. STRAWBRIDGE:              Let me try it another
18   way.
19       Q.    Have you seen any written documents that
20   describe why the Ryan committee ceased work?
21       A.    No.
22       Q.    Are you aware that there is any written
23   explanation as to why the Ryan committee ceased
24   work?
25       A.    I'm not aware.

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                                                                      Page 226
 1                                 FITZSIMMONS
 2       Q.    Whose decision was it to suspend the work
 3   of the Ryan committee?
 4             MS. ELLSWORTH:            Objection.
 5       A.    I don't know.
 6       Q.    Do you believe the Ryan committee produced
 7   any work product during its life?
 8             MS. ELLSWORTH:            Objection.
 9       A.    I don't know.
10       Q.    Are you familiar with a new committee that
11   was recently impaneled by Michael Smith to study
12   race-neutral alternatives?
13       A.    Yes.
14       Q.    Who's on that committee?
15       A.    Dean Smith, Dean Khurana, and myself.
16       Q.    Is there anyone else on that committee?
17       A.    Not that I know of.
18       Q.    Is there any intention to add anyone else
19   to that committee?
20       A.    I don't know.
21       Q.    Has that committee met?
22       A.    Yes.
23       Q.    How many times has that committee met?
24       A.    Once.
25       Q.    When was that meeting?

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                                                                      Page 236
 1                                 FITZSIMMONS
 2   would include everything about an application.
 3       Q.    Is there any written training that's
 4   specific to how race should be used in the
 5   admissions process?
 6             MS. ELLSWORTH:            Objection.
 7       A.    I don't have the written training
 8   materials in front of me, but it's quite possible.
 9       Q.    Do you know?
10       A.    I don't specifically.
11       Q.    If it is, it's in the handbook or
12   guidebook that's given to readers?
13             MS. ELLSWORTH:            Objection.
14       A.    It might well be.
15       Q.    Are you aware of any other places where
16   there is written instruction given on how to use
17   race in the admissions process?
18             MS. ELLSWORTH:            Objection.
19       A.    There may be some information in the
20   alumnae-alumni handbook for our interviewers and
21   recruiters.
22       Q.    Do you give any particular instruction
23   every year to the admissions office about how race
24   should be used?
25             MS. ELLSWORTH:            Objection.

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                                                                      Page 237
 1                                 FITZSIMMONS
 2       A.    Not that I can recall.
 3       Q.    Is there a specific training session that
 4   everyone's required to attend on a regular basis
 5   that reviews what is legally permissible with
 6   respect to the use of race in the admissions
 7   process?
 8             MS. ELLSWORTH:            Objection.
 9       A.    That really would be part of the
10   comprehensive training program.
11       Q.    Are you aware that it's specifically
12   included every year on the training program?
13             MS. ELLSWORTH:            Objection.
14       A.    The intention of the training program is
15   to give a comprehensive overview of how to evaluate
16   an application.
17       Q.    Is it your understanding that that
18   includes specific training on how race should be
19   used?
20       A.    If it isn't in writing, it could well also
21   be done in discussion.
22       Q.    Are you sure that it is?
23       A.    I don't know for sure.
24             MS. ELLSWORTH:            Objection.
25       Q.    Do you take any steps to ensure that it

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                                                                              Page 239
 1                                 FITZSIMMONS
 2       Q.    Okay.    And what are the scores that the
 3   reader assigns?
 4       A.    There are numerical scores for the overall
 5   rating.    There is one for academic potential, one
 6   for extracurricular, one for athletic, one for
 7   personal qualities and character.                       There is -- the
 8   two teacher reports and the counselor report are
 9   also given a rough numerical rating.                         Any
10   interviews the -- there's the staff interview or
11   alumnae-alumni interview, personal qualities
12   rating, and the overall rating would be recorded.
13             Trying to think if I may be missing one.
14   But, anyway, those are the central ones.                           So each
15   staff member has to, whether it's a first reader,
16   second reader, third reader, has to use these
17   ratings.
18       Q.    At the time that the applicant is reading
19   the application, is the race of the applicant
20   available to the reader?
21             MS. ELLSWORTH:            Objection.
22       A.    Generally.
23       Q.    As long as the applicant has provided that
24   information in some form in their application, is
25   it available to the reader?

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                                                                         Page 244
 1                                 FITZSIMMONS
 2       A.    It is certainly -- it was a subject that
 3   has come up at different times simply because,
 4   again, test scores and grades are helpful really
 5   only at the very high and the very low end.                   For
 6   most people they're not particularly helpful or
 7   hurtful.    And -- but the truth is that we deal with
 8   so many different kinds of secondary schools,
 9   homeschoolers, people from all around the world.
10             So we would consider, as our testing
11   commission said, standardized tests are a very
12   rough, crude yardstick that gives you a very rough
13   idea of what people might do in a college setting.
14       Q.    Does race or ethnicity factor into the
15   extracurricular rating?
16             MS. ELLSWORTH:            Objection.
17       A.    If a student had been particularly active
18   in, for example, a community activity connected to
19   race or ethnicity.          And that student wouldn't
20   necessarily have to be a minority student.                   But
21   that kind of activity could be something -- help
22   make a case that that student would be a good
23   educator of others during his or her four years at
24   Harvard.
25       Q.    But that's because of the activity, not

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                                                                      Page 245
 1                                 FITZSIMMONS
 2   the race of the student, right?
 3       A.    Yes.
 4       Q.    So if a white student were active in the
 5   NAACP, you wouldn't rate that any differently as an
 6   extracurricular component than you would an African
 7   American student?
 8             MS. ELLSWORTH:            Objection.
 9       A.    No.
10       Q.    Can you think of any occasion where race
11   would factor into an athletic rating?
12             MS. ELLSWORTH:            Objection.
13       A.    No.
14       Q.    Can you think of a situation where race
15   would affect the personal quality rating?
16             MS. ELLSWORTH:            Objection.
17       A.    Not race per se.
18       Q.    What goes into the personal quality
19   rating?
20       A.    It would really be a holistic view
21   based -- the reader, readers and then ultimately
22   the committee because the committee, you know,
23   could get new information, say, an interview may
24   come in during committee.
25             It would be looking at everything in the

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                                                                            Page 247
 1                                 FITZSIMMONS
 2       A.    I'm not quite sure what you meant by that.
 3       Q.    I thought one of the purposes for
 4   Harvard's use of race in the admissions process was
 5   to ensure that it would assemble a class full of
 6   racially diverse students who would be leaders and
 7   teach one another?
 8             MS. ELLSWORTH:            Objection.
 9       Q.    Is that not or --
10       A.    Yeah, as I understand what you're saying.
11   But that is something you could certainly
12   understand from reading an application.
13       Q.    So it's --
14       A.    Precisely it's a -- precisely what the
15   student had done, again, whether or not that
16   student was from a minority background.                      But you
17   might have a person from a minority background who,
18   based on all of the information that you have on
19   the application, you would have a good sense that
20   this person could turn out to be a very valuable,
21   interesting leader while at Harvard and perhaps
22   beyond.
23       Q.    But not because -- I mean, I guess I just
24   don't understand.          Is race something that you can
25   take into account when assigning that personal

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                                                                      Page 248
 1                                 FITZSIMMONS
 2   quality, taking everything in the folder into
 3   account?
 4             MS. ELLSWORTH:            Objection.
 5       A.    It's simply one part of a person's life.
 6       Q.    Is it a part that can be taken into
 7   account when assigning a personal score?
 8             MS. ELLSWORTH:            Objection.
 9       A.    It depends on how that person -- let's
10   say, for example, you had a student who had been
11   the subject of discrimination as a result of racial
12   and ethnic background.              And, say, a teacher in the
13   school talks about how that student had overcome
14   that prejudice and had, let's say for example, gone
15   on to try to help other students who had been the
16   victims of discrimination and prejudice and perhaps
17   helped some of the students who had been a part of
18   discrimination and/or harassment in the first
19   place.    That -- I'm just giving you an example how
20   a person's race might have interacted with
21   circumstances in his or her life, whether it's in
22   secondary school or beyond, that would indicate
23   that that person might turn out to be a valuable
24   leader and classmate at Harvard.
25       Q.    So, in that case, are you evaluating the

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                                                                                Page 249
 1                                 FITZSIMMONS
 2   actions of the student, or are you evaluating the
 3   student's race?
 4       A.    You're evaluating the actions of the
 5   student that occurred because of race.
 6       Q.    What about in the overall rating?                         How
 7   does that differ from the personal qualities
 8   rating?
 9             MS. ELLSWORTH:            Objection.
10       A.    It's different in the sense that it really
11   does put all the factors together.                           You could have
12   a person who seems wonderful in personal terms but
13   might be among that 10 or 15 percent of the
14   applicant pool who would struggle at Harvard.                             So
15   it's possible to have a high personal qualities
16   rating and then have a low overall rating, if that
17   is what you were asking.
18       Q.    Does the overall rating take into account
19   the other ratings that we just discussed?
20       A.    It takes them into account, but it's not a
21   formula.    It's not adding up things or anything of
22   that sort.     It's looking at not just the four --
23   you know, the four ratings, but again, stepping
24   back and taking all the factors into account and
25   then assigning that overall rating.

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                                                                            Page 250
 1                                 FITZSIMMONS
 2             So there's nothing automatic.                      There's
 3   nothing formulaic, no little formula that would
 4   work here.
 5       Q.    Can an applicant's race or ethnicity
 6   affect their overall rating?
 7             MS. ELLSWORTH:            Objection.
 8       A.    It's hard to get inside the mind of a
 9   particular evaluator or even, you know, when the
10   admissions committee is going through the process.
11   It's hard to know, just given the example I gave
12   you previously, how much, you know, when someone
13   were to -- would assign an overall rating, how much
14   of that had to do with what the person had checked
15   on the box.      What was more important, you know,
16   it -- make all the -- really is what happens, is
17   what the person has accomplished.
18       Q.    Well, correct me if I'm wrong; I thought
19   you said earlier that Harvard's use of race was not
20   limited only to those whose application indicated
21   that they had had a particular experience or
22   overcome a particular obstacle because of their
23   race; is that correct?
24       A.    Say that again, and just make sure that I
25   can unders- --

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                                                                              Page 253
 1                                 FITZSIMMONS
 2   admissions, and we find it really vital in terms of
 3   the mission of Harvard College, so that in general
 4   terms, yes.      We are looking at people who, you
 5   know -- vital to our educational mission to have
 6   people from a wide variety of ethnic backgrounds
 7   be -- you know, it -- because certainly, it's
 8   critical to the education our students receive.
 9   But it's also -- in a society that's increasingly
10   diverse and pluralistic, it might enable a student
11   to, you know, become a, you know, even better or
12   greater citizen leader later.
13       Q.    I guess I still just don't know the answer
14   to this question:          Is it okay, when assigning an
15   overall rating, for a reader to use race among
16   other factors in their head when they're assigning
17   that score?
18             MS. ELLSWORTH:            Objection.               Asked and
19   answered.
20       A.    You know, race is certainly one of many
21   factors that we take into account as we make
22   admissions decisions, and I would -- it's quite
23   possible that a reader would also have that on his
24   or her mind as they would put together an overall
25   rating.    But it's complicated.                   It's much more

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                                                                       Page 254
 1                                 FITZSIMMONS
 2   complicated than, you know, simply looking at that
 3   alone.
 4       Q.    You keep saying it's one of many factors.
 5       A.    Yes.
 6       Q.    So how do you know that it's only one of
 7   many factors if you don't know to what extent a
 8   particular reader is taking it into account?
 9             MS. ELLSWORTH:            Objection.
10       A.    Well, because it's always one of many
11   factors in any individual.                    We're not talking about
12   dry concepts here.          We're talking about real flesh
13   and blood human beings who have -- come from a
14   certain economic background, have a certain ethnic
15   background, you know, all the usual variables.                    So,
16   there -- you know, there's really no way to
17   simplify this or codify it, you know, numerically.
18       Q.    How do you know individual readers aren't
19   giving it outsize influence?
20             MS. ELLSWORTH:            Objection.
21       A.    The committee as a whole goes through a
22   very exhaustive process after the readings have
23   taken place.
24             So all of the information in that
25   application is put up on a screen, so if we were in

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                                                                       Page 258
 1                                 FITZSIMMONS
 2   will have opinions on a person's extracurricular or
 3   community commitments.
 4             But it's really the reader's job to try to
 5   convey the strength objectively and, in a sense,
 6   try to determine what that person is really trying
 7   to say about the applicant.
 8       Q.    As far as the decision that the Harvard
 9   reader makes in assigning a school support rating,
10   does the ethnicity of the applicant play any role
11   in that?
12             MS. ELLSWORTH:            Objection.
13       A.    Not as I understand what you're saying.
14       Q.    What about legacy status?                     Is that
15   factored into any of the scoring?
16             MS. ELLSWORTH:            Objection.
17       A.    Into a teacher report or something like
18   that?    Is that what you mean?                  I thought you meant
19   that on the first -- previous -- are you still on
20   teacher reports?
21       Q.    Well, any of the ratings, so teacher
22   reports, personal, overall, academic,
23   extracurricular?
24       A.    I certainly don't believe that the -- I've
25   seen a different kind of teacher rating because a

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                                                                      Page 259
 1                                 FITZSIMMONS
 2   person was a legacy, for example.
 3       Q.    What about the overall rating?
 4       A.    The overall rating, again, it could be
 5   because legacy, to use that term, is one factor
 6   among many as the committee reviews applications.
 7             It could be a factor that people would
 8   have in mind as they're looking at a case, say, in
 9   full committee or subcommittee or at any point.
10       Q.    So it's something that a reader might take
11   into account when assigning the overall score?
12       A.    It's possible.            Again, looking
13   holistically at everything, understanding that, you
14   know, that legacy cases are and have to be fully
15   qualified to be at Harvard.                   But, again, one factor
16   among many, they, people might not factor it in.
17       Q.    But not for the academic rating, right?
18       A.    No.
19       Q.    Not for the athletic rating?
20             MS. ELLSWORTH:            Objection.
21       A.    No.
22       Q.    Not for the extracurricular rating?
23             MS. ELLSWORTH:            Objection.
24       A.    Not that I know of unless...
25       Q.    And not for the personal rating?

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                                                                      Page 260
 1                                 FITZSIMMONS
 2             MS. ELLSWORTH:            Objection.
 3       A.    Not -- no.        Not -- not --
 4             MR. STRAWBRIDGE:              Why don't we take a
 5   short break.
 6             THE VIDEOGRAPHER:              Time now is 1442 and
 7   we're off the record.
 8             (Proceedings interrupted at 2:42 p.m. and
 9       reconvened at 3:03 p.m.).
10             THE VIDEOGRAPHER:              Time now is 1503.
11   We're on the record.
12   BY MR. STRAWBRIDGE:
13       Q.    Did you talk with your counsel about the
14   substance of your answers during the break?
15       A.    No.
16       Q.    Are you familiar with the phrase "standard
17   strong" as it's used in the reading process?
18       A.    I am familiar with the phrase.
19       Q.    What does standard strong mean?
20       A.    I would say pretty much what the words
21   mean in standard usage.               We have, as I indicated
22   before, many, many strong candidates and many
23   people who present extremely strong standardized
24   tests and grades, so that would certainly be a --
25   someone who might be described as standard strong.

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                                                                         Page 261
 1                                  FITZSIMMONS
 2   It's not a term that I use myself, particularly,
 3   but it certainly indicates, you know, some real
 4   strength to be in that pool, to be standard strong.
 5       Q.    What makes it standard?
 6       A.    There may not yet be something that might
 7   make that person quite as strong an educator of
 8   others or quite as strong as an applicant overall
 9   as some others because it is, you know, it is a
10   competition where there's lots of strength.                   But
11   that would probably be the best description I could
12   give.
13       Q.    Is that something else, that other thing,
14   sometimes referred to in the admissions office as a
15   "distinguishing excellence"?
16       A.    It could be.
17       Q.    Or DE?
18       A.    It could be.
19       Q.    What's a distinguishing excellence?
20             MS. ELLSWORTH:             Objection.
21       A.    It would be -- it could be an excellence
22   of any kind one could imagine, but it would be an
23   additional factor that might help the admissions
24   committee understand better what kind of a
25   contribution this particular applicant might make

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 1                                 FITZSIMMONS
 2   with biological sciences and medical?
 3       A.    Simply because the coding used to use
 4   alphabetic -- you know, use the alphabet to
 5   indicate certain concentrations.                       I'm not sure
 6   those are the same letters that are used today, but
 7   certainly there are people around who would use
 8   that.    I think, B, I think, was humanities for
 9   example.    I may be wrong on that.
10       Q.    But that's an artifact, essentially, of
11   the former database system?
12       A.    Yes, it probably is an artifact at this
13   point.
14       Q.    What is the "dean's interest list"?
15       A.    The dean's interest list is something that
16   I would use to make certain that I'm aware of what
17   eventually might happen to that application.
18       Q.    And how would one go about getting on the
19   dean's interest list?
20             MS. ELLSWORTH:            Objection.
21       A.    There are -- for example, I, in my
22   recruiting process as I go out on the road, I might
23   meet a person at one of the evening meetings,
24   recruiting events, and think just on an impression
25   that this is a person who, you know, might be of

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 1                                 FITZSIMMONS
 2   interest to the admissions committee.                        So I might
 3   put that person on my interest list.
 4       Q.    If one -- if a candidate is of interest to
 5   a donor to Harvard, is that something that might
 6   land them on the interest list?
 7             MS. ELLSWORTH:            Objection.
 8       A.    It is possible because, again, no matter
 9   what decision we might make on an application, it
10   would be good for us to be in a position to field
11   phone calls after the fact, for example.
12       Q.    How do you use the donor's interest list?
13             MS. ELLSWORTH:            Objection.
14       A.    Donor's interest list?
15       Q.    I'm sorry.        The dean's interest list.
16       A.    So I am aware of it and I, you know, would
17   accumulate people on the list I happen to run into
18   or get information about throughout the year.
19             And then when subcommittees are in
20   session, I might call some or all or none,
21   depending on the situation of these people, to the
22   attention of the subcommittee and also possibly in
23   the full committee process.
24             Again, just so that I would be in a
25   position, ultimately, to understand, you know, what

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                                                                            Page 269
 1                                 FITZSIMMONS
 2             MS. ELLSWORTH:            Objection.
 3       A.    Yes.
 4       Q.    So a one is a strong rating?
 5       A.    A strong rating, yes.
 6       Q.    And, in this case, can you tell from here
 7   who would have assigned that rating?                         Would it be
 8   the alumni club or the development office?
 9             MS. ELLSWORTH:            Objection.
10       A.    We have a meeting of the -- this is myself
11   and some senior admissions staff members -- with
12   people connected to the Harvard Alumni Association
13   and the University Development Office, and in that
14   meeting we would discuss the person.
15             There's nothing automatic about a number,
16   so we would discuss the person and what the person
17   had done over the years.                And so we would come to a
18   consensus on what we think the rating should be,
19   usually in that meeting.
20       Q.    Is the rating related at all to the
21   applicants' ratings from the normal admissions
22   process, or this is a distinct rating?
23             MS. ELLSWORTH:            Objection.
24       A.    This is a distinct rating.
25       Q.    And are you rating the applicant, or are

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 1                                  FITZSIMMONS
 2   you rating the level of interest that other people
 3   at the university have in this applicant's
 4   admission prospect?
 5             MS. ELLSWORTH:             Objection.
 6       A.    The latter.
 7       Q.    And the development office is the chief
 8   fundraising office of the university, right?
 9       A.    Yes.
10       Q.    So is there any way to tell in here who
11   the people who were put on this list because of the
12   development office are?
13       A.    Not without more information.
14       Q.    Is that information tracked on any
15   spreadsheet or document in the office?
16             MS. ELLSWORTH:             Objection.
17       A.    It's -- yes.
18       Q.    Okay.     And how would you figure that out?
19       A.    It's tracked on this list.
20       Q.    Okay.     Is it any of the columns that's
21   listed here?
22       A.    I'm sorry.         I don't know what you mean by
23   tracking.     So this is the list I would use.
24       Q.    Right.      And I'm trying to say, like,
25   looking at this list --

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 1                                  FITZSIMMONS
 2       A.    Right.
 3       Q.    Is there any way to -- I asked if there
 4   was any way to identify who was put on here by the
 5   development office?
 6       A.    No.    No.
 7       Q.    Okay.
 8       A.    Because it's done with a number of people,
 9   as I suggested.         We would make the decision,
10   ultimately, and as a consensus with the people in
11   the room what we think the right rating would be.
12       Q.    Would it surprise you to learn that
13   according to the data Harvard has produced, being
14   on the dean's interest list is very highly
15   correlated with admissions at Harvard?
16             MS. ELLSWORTH:             Objection.
17       A.    I had never -- wouldn't have had an
18   estimate of that.
19       Q.    But this is your list, right?
20       A.    Yes.
21       Q.    And you'd said that one of the purposes of
22   this list is to track people who might have to be
23   called with decisions?
24       A.    Right.      But these, the people on this
25   list -- in some ways the applicants themselves are

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 1                                 FITZSIMMONS
 2   highly self-selected in the sense that oftentimes a
 3   person who has had family members attend Harvard to
 4   be, you know, be part of Harvard, many of the --
 5   those people who, you know, would have less of a
 6   chance of getting in won't apply.
 7             So typically, what would happen is that
 8   people of this sort, especially if the family had
 9   been very involved in Harvard Alumni Association or
10   schools and scholarship work or development work
11   over the years, they would tend to have a very good
12   sense of how difficult the admissions competition.
13   So they're unlikely to apply unless they are strong
14   applicants.      And, in general, alumnae-alumni sons
15   and daughters are stronger, on average, at least on
16   measures such as test scores and grades than the
17   average applicant.
18       Q.    Well, then, I mean, do you have any idea
19   how many people tend to get in off the dean's
20   interest list just in your own experience?
21             MS. ELLSWORTH:            Objection.
22       A.    I don't have a precise number in mind.
23       Q.    Given your experience in all the years
24   you've been in the admissions office, would you
25   expect that the vast majority of the people on the

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 1                                 FITZSIMMONS
 2   dean's interest list are going to get admitted?
 3             MS. ELLSWORTH:            Objection.
 4       A.    I don't really know.                 For example, the
 5   example I gave you originally, I wouldn't normally
 6   put a person on the interest list, say, that I had
 7   met in my recruiting unless that person was a
 8   strong candidate to begin with.                      So I would say
 9   that that kind of an applicant wouldn't surprise me
10   if applicants of that sort were to get in at a
11   higher rate.
12       Q.    Would you put them on the interest list if
13   the development office asked you to, regardless of
14   whether or not you assessed them be a strong
15   candidate for admission?
16             MS. ELLSWORTH:            Objection.
17       A.    Yes.    The two ratings are separate, as we
18   said before.
19             MR. STRAWBRIDGE:              Would you please mark
20   this as an exhibit?
21             (Exhibit 4, HARV00004890, marked for
22       identification.)
23             THE WITNESS:          Are we through with this for
24       the moment?
25             MR. STRAWBRIDGE:              For the moment.

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                                                                      Page 277
 1                                 FITZSIMMONS
 2   people who the development office recommends?
 3             MS. ELLSWORTH:            Objection.
 4       A.    Do you mean by "typically"?
 5       Q.    So if the development office contacts you
 6   or you learn about from the development office
 7   about a candidate to go on the interest list, will
 8   you ultimately obtain a rating from the development
 9   office for that candidate?
10             MS. ELLSWORTH:            Objection.
11       A.    Not always.
12       Q.    What influences whether you do or do not?
13       A.    They may not have the information.
14       Q.    Okay.    Is the amount that the donor has
15   given or a donor has given, the amount of
16   contribution that's been made, is that a factor
17   that is considered in the rating?
18             MS. ELLSWORTH:            Objection.
19       A.    It would be one factor.
20       Q.    And is this like some of the other
21   testimony you've given, in that the ultimate rating
22   can be based on a combination of one or many
23   factors?
24             MS. ELLSWORTH:            Objection.
25       A.    Yes.

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 1                                 FITZSIMMONS
 2       Q.    So does that mean that the larger the size
 3   of the relative financial contribution, the more in
 4   a particular individual case it might affect the
 5   ultimate rating?
 6             MS. ELLSWORTH:            Objection.
 7       A.    It would tend to go that way.
 8       Q.    Is there a director's interest list?
 9       A.    I don't know if Marlyn keeps one or not.
10       Q.    Have you ever heard of one or not?
11       A.    I think she has mentioned that she -- I
12   don't know whether she calls it an interest list,
13   but I, just given the volume of applications, I
14   think it's possible that she might have some sort
15   of a list.
16       Q.    Who presents the cases on the dean's list
17   in committee?
18             MS. ELLSWORTH:            Objection.
19       A.    The area person would always present the
20   case.
21       Q.    And is that seen simply by the initials
22   here under "staff" --
23       A.    Exhibit 2?
24       Q.    -- the prior exhibit, yes, sorry.
25       A.    Yes.

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 1                                 FITZSIMMONS
 2       Q.    Will you sometimes provide information to
 3   the committee about the rating that has been
 4   provided to you for this candidate?
 5             MS. ELLSWORTH:            Objection.
 6       A.    Yes.
 7       Q.    Is that information provided in
 8   subcommittee?
 9             MS. ELLSWORTH:            Objection.
10       A.    It could be.
11       Q.    How would that information get
12   communicated to the subcommittee chair for a
13   subcommittee that wasn't yours?
14       A.    I might talk directly to the area person;
15   I might talk directly to the chair; I might go into
16   the subcommittee and talk to everyone.                       It varies.
17       Q.    Before the subcommittee process begins,
18   does each docket receive a target number?
19       A.    Yes.
20             MS. ELLSWORTH:            Objection.
21       Q.    And how is that target number calculated?
22       A.    It's the roughest of rough estimates based
23   on the quality of the applicants the previous year
24   from that area with the information about number of
25   applicants, the number of people admitted from that

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 1                                 FITZSIMMONS
 2   particular area, which would be a measure of the
 3   quality.
 4             And then you would have the information
 5   this year of any variations in the application
 6   numbers.    And then, depending on where you are in
 7   the process, you would have the admits so far,
 8   which would be, again, a rough measure of -- this
 9   is on, say, a one-pager as we had talked about
10   before.
11             So it's a very, very, very rough way to
12   start, just to -- but because our recruiting is so
13   comprehensive and because every year we are
14   writing, as you know, and communicating with
15   thousands and thousands of applicants in very much
16   the same way from year to year, we will tend to
17   have -- from one year to the next, you tend to have
18   the roughly the same number and then roughly the
19   same quality from an area.
20             Although, and the reason I use the word
21   rough, very rough to describe the targets is that
22   until you actually read the applications, you --
23   and go through committee, you don't really know
24   what the quality is this year.
25             So the targets are just a starting point

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 1                                  FITZSIMMONS
 2   that we all know may end up not at all representing
 3   the quality this year versus last year.
 4       Q.    So let me just back up a little bit.                         Are
 5   the targets -- the targets, as I understand your
 6   testimony, are allocated based on what happened
 7   with last year's class?
 8       A.    Yes.
 9       Q.    Docket by docket?
10       A.    Sorry.      Yeah.
11       Q.    Adjusted, perhaps, for any change in the
12   application numbers this year; is that correct?
13             MS. ELLSWORTH:             Objection.
14       A.    More or less.
15       Q.    Okay.     And how?           When you say more or
16   less, what do you mean?
17             MS. ELLSWORTH:             Objection.
18       A.    We might take a look at, again, look at
19   what last year's experience with the application
20   numbers and then the number of admits ultimately,
21   so at the end of the whole process.                           And normally
22   we would simply proportionately use the last year's
23   admits as a way to get into this year's targets.
24             If there was a variation, you know, the
25   number of applications, you might increase a target

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 1                                 FITZSIMMONS
 2   or decrease a target slightly with that information
 3   in hand.
 4       Q.    Is it the same -- well, is the projected
 5   yield factor in, to setting the targets?
 6       A.    Only in the most collective sense, and
 7   that is that we know one year to the next that the
 8   yield in different areas tends to be roughly
 9   similar to the previous year.                    And we obviously
10   want very much not to have too many people who end
11   up saying yes, so that we would be overcrowded.
12             So if you add up, and this is the way it
13   would work, if you look at the bottom, I suppose,
14   of how many you admitted last year, the yield in a
15   funny way would be figured in by literally what
16   happened last year and then applied proportionately
17   to what we have in front of us this year.                    But we
18   know that yields can vary overall, and they can
19   vary by docket from year to year.
20       Q.    To account for that, do you set a target
21   that is below the number of seats that you'll have,
22   based on whatever yield assumption you're applying?
23       A.    Well, in all cases, you know, every
24   docket, again figured out by looking at last year.
25   But we know that no matter how hard we try,

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 1                                  FITZSIMMONS
 2   there'll still be anywhere, you know -- this year,
 3   you know, 16 or 17 percent of the people we
 4   admitted turned us down.                 And the year before, the
 5   number was more like 21 percent of the people
 6   turned us down.
 7       Q.    Right.      But I guess my --
 8       A.    So the whole number would always be, of
 9   admits, will always be more than the ones we expect
10   to show up.
11       Q.    Okay.     How many seats do you have in a
12   given class?
13       A.    1,662.
14       Q.    Okay.     And for regular action, you have
15   the benefit of the Early Action numbers.
16             Is your yield assumption that you use to
17   generate the targets, if it comes out right, does
18   that equal 1,662?
19             MS. ELLSWORTH:             Objection.
20       A.    We would hope.             It's always -- we would
21   hope to be able to use the waiting list each year.
22   So I think our hope, let's say in April, adding up
23   the early admits and the regular action admits, our
24   hope is that we would end up on May 1st, May 5th,
25   you know, when we get final responses from people,

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 1                                 FITZSIMMONS
 2   that we would have somewhat fewer than 1,662 so
 3   that we could then go to the waiting list and admit
 4   people.
 5       Q.    How many people have come in off the
 6   waiting list in recent years?
 7       A.    It has been zero some years, and there was
 8   one year -- I believe it was the year we came back
 9   from early admit -- with early admission, I think
10   we ended up taking way over a hundred off the
11   waiting list.      A normal year would be 40 to 60.
12       Q.    Have you ever had years where you had more
13   than 1,662 people accept?
14             MS. ELLSWORTH:            Objection.
15       A.    Yes.
16       Q.    What happens then?
17             MS. ELLSWORTH:            Objection.
18       A.    We have to find a place for them to live.
19       Q.    Those people will not be denied the
20   opportunity to enroll at Harvard?
21       A.    No.
22       Q.    What do you do to find a place for them to
23   live?
24             MS. ELLSWORTH:            Objection.
25       A.    We would look at any available space in

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 1                                 FITZSIMMONS
 2   information, so they would say at this time we will
 3   prefer to come in under target, and we'll get the
 4   late information and see where all this goes.
 5       Q.    In the full committee process, can some
 6   spots shift between dockets, so one docket ends up
 7   with more than what their initial target was and
 8   one docket ends up with less?
 9             MS. ELLSWORTH:            Objection.
10       A.    Yes.
11       Q.    Does that happen a lot?
12             MS. ELLSWORTH:            Objection.
13       A.    Yes.
14       Q.    And how big is that shift?
15       A.    I'd say in aggregate it's typically about
16   a hundred or more.
17       Q.    At the subcommittee level -- you run a
18   subcommittee, correct?
19       A.    I do.
20       Q.    And which docket is that?
21       A.    P docket.        P.     Local area.
22       Q.    Boston-area schools?
23       A.    Sort of eastern Massachusetts, Boston
24   area.
25       Q.    At the subcommittee meeting does the

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 1                                  FITZSIMMONS
 2   subcommittee, when they are deciding which cases to
 3   bring to full committee with whatever
 4   recommendation, is race something that is discussed
 5   about the applicants?
 6             MS. ELLSWORTH:             Objection.
 7       A.    It would be one part of, you know, of an
 8   individual case, one factor among many.
 9       Q.    And when you're reviewing the
10   subcommittee, you know, in the subcommittee
11   meeting, information about the race of each
12   applicant is available, correct?
13             MS. ELLSWORTH:             Objection.
14       A.    All candidates have, you know, information
15   about race or absence of information about race.
16       Q.    Is the subcommittee conducted using a
17   printed-out paper, you know, docket sheet?
18       A.    I'm not sure what you mean.
19       Q.    In prior years would there be a
20   printed-out sheet that listed summary information
21   about every candidate for admission in that
22   subcommittee?
23       A.    That would be the docket itself.
24       Q.    Right.
25       A.    As I understand it.

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 1                                  FITZSIMMONS
 2       Q.    Is the docket brought to subcommittee
 3   meeting physically?
 4             MS. ELLSWORTH:             Objection.
 5       A.    Yes.
 6       Q.    And are notes made on it by the committee
 7   chair?
 8       A.    Yes.
 9       Q.    Okay.     And is that information
10   ultimately -- or is that copy of the docket then
11   brought to the full committee meeting as the record
12   of the subcommittee's decisions?
13       A.    Along with the electronic record.
14       Q.    Right.      So when is the electronic record
15   updated?    Is it during the subcommittee meeting?
16             MS. ELLSWORTH:             Objection.
17       A.    Generally, yes.
18       Q.    And when you're taking notes in P docket
19   subcommittee meetings, for example, are your notes
20   intended to record your view of the candidate's or
21   the subcommittee's view?
22             MS. ELLSWORTH:             Objection.
23       A.    It could be both.
24       Q.    If someone says something about an
25   applicant or makes a particular interest in --

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 1                                 FITZSIMMONS
 2   would you write a note in the margin?
 3       A.    I might.
 4       Q.    Would you have made notes in the margin on
 5   the docket without telling everybody else in the
 6   subcommittee that you made those notes?
 7       A.    Well, we're in close proximity to one
 8   another, so I think we're all aware of what I'm
 9   doing and what everyone else is doing.
10       Q.    And so your testimony is, is that
11   ethnicity or race --
12             MR. STRAWBRIDGE:              Strike that.
13       Q.    We were talking about the targets.                 Is
14   information about the ethnicity of the applicants
15   used in setting the targets?
16             MS. ELLSWORTH:            Objection.
17       A.    Not these days, no.
18       Q.    Did it used to be?
19       A.    I don't know prior to my becoming dean.
20       Q.    Do you think it might have been?
21             MS. ELLSWORTH:            Objection.
22       A.    I don't know.
23       Q.    I guess, why are you qualifying that when
24   you say not these days?
25             MS. ELLSWORTH:            Objection.

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                                                                           Page 302
 1                                  FITZSIMMONS
 2       A.    No.    No.      They might simply tell me that
 3   they had, for example, if you were in the Midwest,
 4   let's say on E docket or something of that sort
 5   that there were lots of small-town rural
 6   applicants, for example.
 7       Q.    My question is about ethnicity.
 8       A.    Right.
 9       Q.    So let's just stick to that example.
10       A.    Okay.
11       Q.    You said there were some examples where
12   you'd seen questions or had conversations about
13   ethnicity?
14             MS. ELLSWORTH:             Objection.
15       A.    Occasionally, yes.
16       Q.    So what did they have?                    Did they have a
17   handwritten sheet?           Did they have a printed-out
18   report?    What was the information they had?
19             MS. ELLSWORTH:             Objection.
20       A.    What I can recall is just simply, you
21   know, a statement that this year we, you know, did
22   extremely well and -- or badly or whatever it might
23   be in regard to one thing or another.
24       Q.    And when they say extremely well or badly,
25   were they typically comparing it to the prior year?

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                                                                               Page 303
 1                                  FITZSIMMONS
 2        A.   That would be the benchmark because there
 3   are variations from year to year, and we expect
 4   variations from year to year.
 5        Q.   When you're in full committee, does every
 6   single candidate for -- application get a vote?
 7             MS. ELLSWORTH:             Objection.
 8        A.   No.
 9        Q.   Who decides which candidates should be
10   brought up for a vote?
11             MS. ELLSWORTH:             Objection.
12        A.   There would be three -- at least three
13   ways, four ways, whatever.                     That would be -- area
14   person would be the first one you'd think of who
15   might want us to consider a case.                         Now, when you
16   say bring up, do you mean a person who is not
17   admitted currently?
18        Q.   I suppose I should say a person -- who
19   decides who's brought up for discussion in full
20   committee?
21        A.   So the way it would work -- so I chair
22   full committee, so and, of course, there are plenty
23   of other people in the room, including senior
24   admissions officers.
25             So one of the things that we want to be

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                                                                             Page 310
 1                                  FITZSIMMONS
 2   you disagree with that?
 3             MS. ELLSWORTH:             Objection.
 4        A.   I certainly wouldn't have any use for it
 5   on a daily basis.
 6        Q.   Okay.     But do you know whether it's
 7   updated on a daily basis?
 8             MS. ELLSWORTH:             Objection.
 9        A.   Well, we update the numbers on a daily --
10   as we go through the -- at the end of each docket
11   we record what happened, and as the dockets are
12   reviewed in full committee we'll record that.                          So
13   if you ran an interest list, you'd get different
14   information from one day to the next.                         I'm not sure
15   what you would do with it, why it would be
16   important.
17        Q.   I'm not talking about the interest list.
18   We're talking about the --
19        A.   I'm sorry.         I'm sorry.             Yeah.     You're
20   right.    The one-pager.
21             MS. ELLSWORTH:             Why don't we take a quick
22   break.
23             MR. STRAWBRIDGE:               Do you want to take a
24   break?
25             MS. ELLSWORTH:             Yeah.

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                                                                      Page 311
 1                                  FITZSIMMONS
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                                                                      Page 312
 1                                  FITZSIMMONS
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                                                                      Page 314
 1                                  FITZSIMMONS
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                                                                      Page 315
 1                                  FITZSIMMONS
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                                                                      Page 318
 1                                  FITZSIMMONS
 2        A.   It's part of the full committee where we
 3   ensure that we send out the number of admissions
 4   that will, we hope, not overcrowd our class.
 5        Q.   Is it the point where decisions have to be
 6   made to pare back the class to get to the target
 7   number?
 8             MS. ELLSWORTH:             Objection.
 9        A.   It's one way of looking at it.
10        Q.   Are lops distributed evenly amongst the
11   dockets in proportion to the number of admits who
12   are beyond the target?
13        A.   That would be the goal.
14        Q.   Every subcommittee receives a lop number?
15        A.   Yes.
16        Q.   And is required to fill out a form
17   recommending lops?
18        A.   Yes.
19        Q.   Does that form request information about
20   the ethnicity of the candidates who are being
21   proposed for lops?
22        A.   As I recall.
23             (Exhibit 6, HARV00004924 - 4927, marked for
24        identification.)
25             MR. STRAWBRIDGE:               Look at this document and

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                                                                          Page 319
 1                                  FITZSIMMONS
 2        tell me if you recognize it.
 3        Q.   Do you recognize this document?
 4        A.   Yes.
 5        Q.   Is this an example of a one-pager?
 6        A.   Part of it is.
 7        Q.   Is that the first page of the data that's
 8   presented here?
 9        A.   Yes.
10             (Exhibit 7, HARV00021585, marked for
11        identification.)
12             MR. STRAWBRIDGE:               Going to hand you what's
13        been marked as Exhibit 7.
14             MS. ELLSWORTH:             Can we have a copy,
15   please?     Thank you.
16             THE WITNESS:           Yes.
17        Q.   Do you recognize this document?
18        A.   I recognize what it is.                     I had not seen it
19   before.
20        Q.   This is an e-mail from Kaitlin Howrigan to
21   Elizabeth Yong on March 19th, 2013; is that
22   correct?
23        A.   Yes.
24        Q.   And I'll represent to you that calendars
25   produced by Harvard in this case indicate that

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                                                                             Page 320
 1                                  FITZSIMMONS
 2   March 19th was scheduled to be the final day of the
 3   full committee meeting that year.
 4             Do you have any reason to disagree with
 5   that representation?
 6             MS. ELLSWORTH:             Objection.
 7        A.   It's likely that was the final day or
 8   close to it.
 9        Q.   Ms. Howrigan writes to Ms. Yong, "We just
10   finished up our first pass, and WRF was hoping he
11   could get a one-pager and his ethnic stats so we
12   can look at where -- it looks like we need to take
13   28 more right now for the lop needs."
14             Did I read that correctly?
15        A.   Yes.
16        Q.   What are your ethnic stats?
17             MS. ELLSWORTH:             Objection.
18        A.   So this is not part of that.                        This is all
19   Early Action, this document.
20             MR. LEE:        You ought to state he's
21   referring to Exhibit --
22             THE WITNESS:           I'm sorry.             This --
23             MR. LEE:        He's got two in front of him
24   right now.
25             MR. STRAWBRIDGE:               Right.         You should --

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                                                                             Page 321
 1                                  FITZSIMMONS
 2   I'm referring to Exhibit 7.
 3             THE WITNESS:           Right.         So this is
 4   March 19th.      This is full committee.                      This is not
 5   related.
 6             MR. STRAWBRIDGE:               You can put Exhibit 6
 7   aside.
 8             THE WITNESS:           Okay.         Yes.
 9        Q.   Right.      What are your ethnic stats?
10             MS. ELLSWORTH:             Objection.
11        A.   It would -- any statistics that would give
12   us a sense of where we are in the class regarding
13   ethnicity at that moment.
14        Q.   Including a comparison to the prior year?
15        A.   It looks that way from the --
16        Q.   And that was typically what was included
17   with the one-pagers, correct?
18             MS. ELLSWORTH:             Objection.
19        A.   Ethnic stats?
20        Q.   Comparisons to the prior year?
21        A.   That would -- they would be on a
22   one-pager.
23        Q.   Is there a distinction between the
24   one-pager and the ethnic stats that is being
25   referred to in this document?

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                                                                      Page 322
 1                                  FITZSIMMONS
 2        A.   I'm not sure what she means by the ethnic
 3   stats.
 4        Q.   The one-pager that we looked at does, in
 5   fact, contain statistics about ethnicity, correct?
 6        A.   Yes.
 7        Q.   And that's typical for the one-pagers?
 8        A.   Yes.
 9        Q.   Ethnicity is -- I believe you testified
10   ethnicity is information that is asked for
11   specifically on the form on which admissions
12   officers identify their lops?
13             MS. ELLSWORTH:             Objection.
14        A.   Be one factor.
15        Q.   And ethnicity is something that is
16   available to the committee when it's designating
17   people to lop; is it not?
18        A.   Along with all the information that anyone
19   might request.
20        Q.   Is all that other information on the lop
21   form?
22        A.   Not all the information.
23        Q.   Just a few pieces of information?
24        A.   Some pieces of information.
25        Q.   Legacy?

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                                                                      Page 323
 1                                  FITZSIMMONS
 2             MS. ELLSWORTH:             Objection.
 3        A.   Yes.
 4        Q.   Ethnicity?
 5             MS. ELLSWORTH:             Objection.
 6        A.   Yes.
 7        Q.   Anything else you can think of?
 8        A.   I'd have to see a one-pager.
 9        Q.   A one-pager or a lop form?
10        A.   Oh, I'm sorry.             You're talking about the
11   lop form.
12        Q.   I'm talking about the lop form.
13        A.   I'm sorry.         Could you repeat the question
14   again?
15        Q.   What's asked for on the lop form?
16             MS. ELLSWORTH:             Objection.
17        Q.   Besides ethnicity and legacy status?
18        A.   I would have to see the most recent one.
19   Forms have changed.
20        Q.   When have they changed?
21        A.   I don't remember.
22        Q.   Before or after this lawsuit?
23             MS. ELLSWORTH:             Objection.
24        A.   I don't recall.
25        Q.   Do ethnicities yield at different rates?

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                                                                      Page 326
 1                                  FITZSIMMONS
 2        A.   I'm not sure I know what you mean by
 3   often.
 4        Q.   Do you have occasion to receive reports
 5   that include this type of demographic information
 6   over the course of four years?
 7             MS. ELLSWORTH:             Objection.
 8        A.   I have seen four-year data before, simply
 9   because it would be a current cohort.
10        Q.   And by current cohort, you mean it would
11   be the entire student body of Harvard for a
12   particular year?
13        A.   Yes.
14        Q.   The bottom sort of third of this chart,
15   does that display yield rates by ethnicity for the
16   classes of 2014 through 2017?
17             MS. ELLSWORTH:             Which page are you on?
18             THE WITNESS:           Page one?
19             MR. STRAWBRIDGE:               The first page.
20             MS. ELLSWORTH:             1859?
21             MR. LEE:        Yes.
22             MS. ELLSWORTH:             Okay.
23        Q.   Do you see that?
24        A.   Yes.
25        Q.   All right.         And so, for example, let's

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                                                                      Page 327
 1                                  FITZSIMMONS
 2   just look at the most recent class on this chart,
 3   the class of 2017.           That indicated that Asian
 4   Americans had an 83.8 percent yield that year?
 5        A.   Yes.
 6        Q.   And the prior year it was 87.5 percent for
 7   Asian Americans?
 8        A.   Yes.
 9        Q.   And it was over 80 percent for both the
10   classes of '14 and '15, was it not?
11        A.   Yes.
12        Q.   And African American yield in 2017 was 67
13   percent, correct?
14        A.   Yes.
15        Q.   16 points lower?
16             MS. ELLSWORTH:             Objection.
17        Q.   Give or take a decimal?
18        A.   Yes.
19        Q.   And for the year before that, it was 13
20   points, 13 and a half points lower?
21             MS. ELLSWORTH:             Objection.
22        A.   Yes.
23        Q.   And for the year before that, 16.8 percent
24   lower?
25             MS. ELLSWORTH:             Objection.

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                                                                      Page 328
 1                                  FITZSIMMONS
 2        A.   Yes.
 3        Q.   And for the year before that, it was
 4   63.6 percent compared to 81.5 percent for Asian
 5   Americans, right?
 6        A.   Yes.
 7        Q.   The Hispanic American numbers, do you see
 8   those?
 9        A.   Yes.
10        Q.   Also in -- it was 71.1 percent in 2017?
11             MS. ELLSWORTH:             Objection.
12        A.   Yes.
13        Q.   12 points lower than the listed Asian
14   Americans yield rate?
15             MS. ELLSWORTH:             Objection.
16        A.   Yes.
17        Q.   And in 2016 it was actually 21 points
18   lower than the Asian American yield rate?
19             MS. ELLSWORTH:             Objection.
20        A.   Nearly.
21        Q.   And for both '15 and '14, the yield rate
22   for Hispanic Americans was again in the 60 percent
23   range, right, in the 60s?
24        A.   Yes.
25        Q.   All right.         So, I mean, a difference of

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                                                                      Page 329
 1                                  FITZSIMMONS
 2   20 points in some cases, that's a fairly
 3   substantial difference in yield, right?
 4             MS. ELLSWORTH:             Objection.
 5        A.   Yes.
 6        Q.   For a hundred given people, it's the
 7   difference between -- you know, it could be as many
 8   as 20 people not coming, right?
 9        A.   Correct.
10        Q.   So you testified earlier how important the
11   number of seats are in the class when you're
12   setting targets, right?
13        A.   Yes.
14        Q.   We just talked about the fact that you
15   look at the one-pagers at various points during the
16   process, correct?
17             MS. ELLSWORTH:             Objection.
18        A.   Yes.
19        Q.   Does Harvard make sure that the ultimate
20   ethnic composition of its class doesn't vary too
21   widely from the previous year?
22             MS. ELLSWORTH:             Objection.
23        A.   No.
24        Q.   Does it matter to Harvard if in a given
25   year, for example, the class through the full

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                                                                         Page 330
 1                                  FITZSIMMONS
 2   committee meeting process yields a 40 percent Asian
 3   class?
 4             MS. ELLSWORTH:             Objection.
 5        A.   We simply admit the best students.
 6        Q.   And if in a given year the best students
 7   yielded a class that's 40 percent Asian, that's
 8   fine with you, right?
 9             MS. ELLSWORTH:             Objection.
10        A.   Again, we simply admit the best students
11   and hope we can get them.
12        Q.   You'd be okay with that?
13             MS. ELLSWORTH:             Objection.
14        Q.   Right?
15        A.   If we -- yes.
16        Q.   So if that were to happen in a given year,
17   wouldn't that pretty much blow the targets?
18             MS. ELLSWORTH:             Objection.
19        A.   I'm not sure I quite understand.                    You mean
20   come in over?
21        Q.   Right.      If one year the Asian Americans
22   went from 20 percent of the class to 40 percent of
23   the class, right, and they yielded consistent with
24   what this chart shows, you'd have more people
25   accepting the offers?

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                                                                        Page 331
 1                                  FITZSIMMONS
 2             MS. ELLSWORTH:             Objection.
 3        A.   There's really no way to predict what
 4   might happen with an additional number of admits.
 5        Q.   Well, isn't that what this is doing?                 I
 6   mean, you track yield rate, correct?
 7             MS. ELLSWORTH:             Objection.
 8        A.   Yes.
 9        Q.   And you predict yield rate to set the
10   targets at the beginning of the process?
11        A.   Yes.
12        Q.   And if -- the prediction is based on the
13   prior year's statistics, right?
14        A.   Yes.
15        Q.   And those predictions, in turn, those
16   statistics reflect significant differences by
17   ethnicity in yield rates, then does it stand to
18   reason if the final 1,660 some-odd people selected
19   by the full committee is significantly more Asian
20   American than last year, you're going to have more
21   people accept their offers of admission than you
22   were planning?
23             MS. ELLSWORTH:             Objection.
24        A.   It's possible.             But, again, one of the
25   things we do in our recruiting process is look for

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 1                                  FITZSIMMONS
 2   people from a wide range of backgrounds, including
 3   ethnicity, so that it's unlikely, if you continue
 4   to do the kind of strong recruitment that we have
 5   done, that you would end up in exactly the
 6   situation we've been in.
 7        Q.   So your expectation based on the
 8   recruiting that you do is that you're going to end
 9   up with a pool and a final class that's similar to
10   what you've had before?
11             MS. ELLSWORTH:             Objection.
12        A.   Given the strength of the recruitment
13   efforts across the board which we have described in
14   various ways today and in the interrogative, we
15   would expect to get an extremely strong and diverse
16   applicant pool.         And given the vital importance of
17   having a class that is diverse ethnically and in
18   every other way for the educational value of our
19   undergraduates, it is very unlikely that the
20   hypothetical that you raise would ever occur.
21

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24             MS. ELLSWORTH:             Objection.
25        A.   I'm not sure what would happen in that

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                                                                      Page 333
 1                                  FITZSIMMONS
 2   case.
 3        Q.   You just told me that recruitment efforts
 4   are what drives your expectations about the
 5   relative extent to which people apply to the
 6   school, correct?
 7             MS. ELLSWORTH:             Objection.
 8        A.   Yes.     But we recruit lots of people, as
 9   you know, and not all of them apply.
10        Q.   And so, when you're trying to inform your
11   recruiting, is it with a mind toward ensuring that
12   the applicant pool remains in the same range as
13   what it's at today with respect to ethnic
14   distribution?
15             MS. ELLSWORTH:             Objection.
16        A.   No.
17

18

19             MS. ELLSWORTH:             Objection.
20        A.   We need to send recruitment letters to
21   people from all different ethnic backgrounds and
22   then consider their applications carefully once
23   they apply.      So I'm -- we certainly don't want to
24   send so many recruitment letters out across the
25   board so that we would not, you know, end up with

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                                                                      Page 334
 1                                  FITZSIMMONS
 2   lots of people who might not be strong enough to
 3   get through the admissions process.
 4        Q.   But what about -- the start of this
 5   discussion was talking about how you make sure that
 6   your admissions process doesn't produce a class
 7   that yields a much higher rate than the prior
 8   classes did, and so you started talking about how
 9   you go about recruiting to ensure that you're not
10   going to have any unexpected changes in the pool,
11   such that when you go through the process, you're
12   not going to have a situation where, all of a
13   sudden, you have 40 percent of the class being
14   Asian when you set targets expecting a class that
15   was only 20 percent Asian?
16             MS. ELLSWORTH:             Objection.
17        Q.   Is that your testimony?
18             MS. ELLSWORTH:             Misstates testimony and
19   not a question.
20             But go ahead.
21        A.   Could you repeat the question?
22        Q.   Is your testimony that the way that you
23   ensure you don't end up with a class that yields at
24   a much higher rate than the prior year's predicted
25   rate when you set targets is you recruit carefully

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                                                                      Page 335
 1                                  FITZSIMMONS
 2   to ensure you keep getting the same type of class
 3   that you've had?
 4             MS. ELLSWORTH:             Objection.
 5        A.   The point of recruitment is to get the
 6   strongest possible class across many dimensions,
 7   including ethnicity.             The point of the process is
 8   to do just that and not simply have a higher yield.
 9        Q.   Right.      If you had a significantly higher
10   yield than you predicted, you'd be oversubscribed,
11   correct?
12        A.   Yes.
13        Q.   Something that's happened once in your
14   tenure as dean?
15        A.   Yes.
16        Q.   And something that creates real logistical
17   problems with respect to how many beds you have,
18   correct?
19        A.   It could.
20        Q.   So what is it about your recruiting
21   process that helps to ensure that the ultimate
22   class is not 40 percent Asian?
23             MS. ELLSWORTH:             Objection.
24        A.   It is certainly not a goal of ours to
25   limit ethnicity.          A goal of ours is to ensure that

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                                                                              Page 339
 1                                  FITZSIMMONS
 2   question.
 3        Q.   Yes.     Since you're fine with variations
 4   and you're not managing to any particular
 5   ethnicity, in a given year when the number of Asian
 6   Americans in the class jumped 10 percent, at the
 7   end of the committee meeting how did you deal with
 8   that?
 9             MS. ELLSWORTH:             Objection.
10        A.   It would simply mean that you should make
11   certain that you admit fewer people overall.
12        Q.   Right.      Is that what you did when that
13   happened before?
14             MS. ELLSWORTH:             Objection.
15        A.   It would be one strategy, but it would
16   depend on what else was going on.                        It's not that
17   simple.
18        Q.   Do you remember that happening with Asian
19   Americans in any given year?
20             MS. ELLSWORTH:             Objection.
21        A.   I don't have a -- just looking at this,
22   I don't have a crystal-clear recollection of that.
23        Q.   In the number of years that you've been
24   dean at Harvard, has the number of Asian Americans
25   in any given class ever jumped by 10 percent, year

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                                                                      Page 340
 1                                  FITZSIMMONS
 2   over year?
 3             MS. ELLSWORTH:             Objection.
 4        A.   I don't know the answer to that off the
 5   top of my head.         There are variations from year to
 6   year.
 7        Q.   Any variations that required you to cut
 8   other people from the class?
 9             MS. ELLSWORTH:             Objection.
10        A.   If that number were to jump, that would --
11   again, depending on what else, there might have
12   been a countervailing component of the admitted
13   group that might have suggested a lower yield.
14   So you might not have had to change the target for
15   the number of people you sent out for admits.
16        Q.   Is that one of the reasons why you're
17   asking for ethnic information in the lot process?
18   To make sure you don't blow your targets?
19             MS. ELLSWORTH:             Objection.
20        A.   That's one piece of information that we
21   would use.
22        Q.   Is that the only reason you're asking for
23   ethnic information?
24             MS. ELLSWORTH:             Objection.
25        A.   That would be the only reason.

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                                                                          Page 341
 1                                  FITZSIMMONS
 2        Q.   That's the only reason?                     To make sure you
 3   don't blow the targets?
 4             MS. ELLSWORTH:             Objection.
 5        A.   And also, as with anything else you want
 6   to understand the strength of the applicant pool in
 7   the current year that you're looking at.
 8        Q.   Were you dean at Harvard College when the
 9   Office of Civil Rights for the Department of
10   Education conducted a compliance review with
11   respect to Harvard's admission of Asian Americans?
12        A.   In the late '80s?
13        Q.   Yes.
14        A.   Yes.
15        Q.   And do you remember what prompted that
16   compliance review?
17        A.   I don't really recall specifically.
18        Q.   Do you remember at the time that there was
19   a lot of information in the press raising questions
20   about Harvard's treatment of Asian Americans?
21             MS. ELLSWORTH:             Objection.
22        A.   I do have a recollection of articles in
23   the press.
24        Q.   Did that prompt Harvard to issue a
25   statement regarding Asian American admissions at

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                                                                             Page 347
 1                                  FITZSIMMONS
 2             MS. ELLSWORTH:             Objection.
 3        A.   I think there are -- I don't have an exact
 4   answer to the question.                I think there are great
 5   similarities.
 6        Q.   Do you think that there's anything about
 7   being Asian that is associated with lesser
 8   performance in extracurricular activities?
 9        A.   No.
10        Q.   What about personal qualities?                      In your
11   experience, do you think Asian Americans have fewer
12   attractive personal qualities than white students?
13             MS. ELLSWORTH:             Objection.
14        A.   That wouldn't be my impression.
15        Q.   We're talking about things like
16   leadership.      Is that a personal quality?
17        A.   One of many.
18        Q.   Friendliness?            Outgoing natures?
19             MS. ELLSWORTH:             Objection.
20        A.   Again, one of many, many variables.
21        Q.   And so you have no reason to believe that
22   there's any reason why Asian Americans have those
23   qualities, you know, to a lesser degree than white
24   applicants, do you?
25             MS. ELLSWORTH:             Objection.

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                                                                        Page 348
 1                                  FITZSIMMONS
 2        A.   No.
 3        Q.   Who's Thomas Hibino?
 4        A.   He was, I believe, the principal
 5   investigator for the government for the Asian
 6   American review you had asked about earlier.
 7        Q.   And is that the first time that you met
 8   him?
 9        A.   Yes.
10        Q.   Okay.     And what was the outcome of the OCR
11   investigation?
12             MS. ELLSWORTH:             Objection.
13        A.   Harvard was found to be in full compliance
14   with the law regarding their investigation.
15             (Exhibit 9, HARV00018463 - 18470, marked
16        for identification.)
17             MR. STRAWBRIDGE:               Handing you what's been
18        marked as Exhibit 9.                I'm going to ask you
19        about some parts of this.                    Why don't you take a
20        quick look at the document as a whole and see
21        if you recognize it.
22             MS. ELLSWORTH:             If you're going to ask him
23   about the document, I'd like him to read the
24   document.
25             MR. STRAWBRIDGE:               Would you like him to

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                                                                      Page 362
 1                                  FITZSIMMONS
 2   year over year results with respect to admits?
 3             MS. ELLSWORTH:             Objection.
 4        A.   Yes.
 5        Q.   It has nothing to do with any concern
 6   about ensuring a particular ethnic mix amongst the
 7   class?
 8             MS. ELLSWORTH:             Objection, asked and
 9   answered.
10        A.   Yes.
11        Q.   If the stability of African American
12   admissions over the same 20-year period were
13   identical, would you feel just as comfortable with
14   that explanation?
15             MS. ELLSWORTH:             Objection.
16        A.   Yes.
17        Q.   And that's true even if the number of
18   African Americans who had applied to Harvard had
19   doubled in that time?
20             MS. ELLSWORTH:             Objection.
21        A.   Yes.
22        Q.   Mr. Hibino from OCR, do you consider him
23   to be a friend?
24        A.   Today, yes.
25        Q.   When did he become your friend?

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                                                                             Page 363
 1                                  FITZSIMMONS
 2        A.   Especially after his retirement.
 3        Q.   When did he retire?
 4        A.   I'm not sure precisely.                     Within the past
 5   few years.
 6        Q.   Before he retired did you go out to meals
 7   with him?
 8             MS. ELLSWORTH:             Objection.
 9        A.   Occasionally.
10        Q.   Did you ever go out the dinner with him?
11        A.   Recently.
12        Q.   Before he retired?
13        A.   I don't recall dinner.
14        Q.   Did he oversee any other OCR
15   investigations of Harvard during your time as dean
16   of admissions?
17             MS. ELLSWORTH:             Objection.
18        A.   I don't recall whether he -- you used the
19   term "oversee."         I'm aware that there were other
20   situations with Harvard that his office was
21   involved in.       I don't recall his particular role.
22        Q.   Do you remember him speaking with you in
23   regard to those investigations?
24        A.   I have a vague recollection of some
25   general conversations.

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                                                                      Page 374
 1                                  FITZSIMMONS
 2        A.   I would say it explains some of the
 3   difference.
 4        Q.   How much of the difference?
 5             MS. ELLSWORTH:             Objection.
 6        A.   I wouldn't be able to quantify that
 7   without looking at a particular report.
 8        Q.   Do you think it's most of the difference?
 9             MS. ELLSWORTH:             Objection.
10        A.   I think it's very hard to say.
11        Q.   Are you familiar with an article published
12   by Ron Unz in November 2012 entitled "The Myth of
13   the American Meritocracy"?
14        A.   Yes.
15        Q.   Do you remember when that article was
16   published?
17             MS. ELLSWORTH:             Objection.
18        A.   Not precisely.
19        Q.   Does November 2012 sound right?
20        A.   That sounds in the ballpark.
21        Q.   Do you remember, among other things, that
22   article making allegations about Harvard's
23   treatment of Asian American applicants?
24        A.   Yes.
25        Q.   And do you recall whether or not that

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                                                                                 Page 375
 1                                  FITZSIMMONS
 2   article prompted a number of inquiries to the
 3   Harvard admissions office about the allegations
 4   that Mr. Unz was making?
 5             MS. ELLSWORTH:             Objection.
 6        A.   Yes.
 7        Q.   Do you recall inquiries from the press?
 8        A.   Yes.
 9        Q.   Do you recall inquiries from alumni?
10        A.   Yes.
11        Q.   Do you remember inquiries from other
12   professors or faculty members at Harvard?
13             MS. ELLSWORTH:             Objection.
14        A.   I don't recall specific faculty members.
15        Q.   What did you do to respond to Mr. Unz's
16   allegations?
17             MS. ELLSWORTH:             Objection.               I'll remind
18   the witness not to disclose communications with
19   counsel in responding to the question.
20        A.   One of the things I -- and I did request
21   communication, a meeting with Counsel, and so I
22   don't know in that context whether it would be
23   appropriate for me to --
24             MS. ELLSWORTH:             So the question was what
25   did you do to respond, and I'm just reminding you

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                                                                                  Page 385
 1                                  FITZSIMMONS
 2        Q.   At some point did you ask the Office of
 3   Institutional Research to begin investigating
 4   whether Asian Americans -- whether the admissions
 5   process at Harvard was biased against Asian
 6   Americans?
 7             MS. ELLSWORTH:             Objection.
 8        A.   I don't recall making that specific
 9   request.
10        Q.   You say you don't remember?                          Are you
11   testifying under oath that you didn't ask them to
12   do that?
13             MS. ELLSWORTH:             Objection.
14        A.   I don't have a recollection of making that
15   specific request.
16        Q.   Is it possible -- so do you have a
17   recollection of making any requests relating to
18   Asian American discrimination?
19             MS. ELLSWORTH:             Objection.               A request of
20   whom?     I need to know whether to give a counsel
21   instruction, so I'm asking, was there a request of
22   whom?
23             MR. STRAWBRIDGE:               He said he doesn't
24   remember making that specific request, so I'm
25   asking --

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                                                                               Page 386
 1                                  FITZSIMMONS
 2             MS. ELLSWORTH:             I'm just asking you to
 3   clarify your question so I can instruct the witness
 4   or not.
 5             MR. STRAWBRIDGE:               Does he remember making
 6   any request?
 7             MS. ELLSWORTH:             Objection.               I'll instruct
 8   the witness not to disclose any communications with
 9   counsel in responding to the question.
10        A.   I have a recollection of making a request
11   regarding early admission.
12        Q.   And when was that?
13        A.   I don't recall exactly.
14        Q.   Were you making a request with respect to
15   discrimination against Asian Americans, or --
16        A.   No.    The subject simply was trying to
17   analyze the effect of not having and then having
18   early admission programs, not to do with Asian
19   Americans.
20        Q.   And was that when Harvard was trying to
21   make a decision about whether to reintroduce Early
22   Action admissions?
23             MS. ELLSWORTH:             Objection.
24        A.   I believe so.
25        Q.   That was before Mr. Unz published his

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                                                                              Page 392
 1                                  FITZSIMMONS
 2   PowerPoint.      I'm not going to ask you questions
 3   about the back half, which I understand to be
 4   identical to the front half.
 5             THE WITNESS:           Looks that way.
 6        Q.   Do you recognize this document?
 7        A.   I have a recollection of it.
 8        Q.   What do you remember about this document?
 9        A.   I remember, among other things, how
10   incomplete the analysis was, just given -- as the
11   report indicates, there are a number of levels,
12   that there are lots of information that they
13   clearly didn't have in putting together a model.
14        Q.   So what do you --
15        A.   So the -- so these --
16             MR. LEE:        Ask him to let her --
17             MR. STRAWBRIDGE:               Well, no.            She can make
18   her objections.
19             MR. LEE:        Well, I --
20             MS. ELLSWORTH:             Let the witness --
21             MR. LEE:        I'm talking to her.
22             MR. STRAWBRIDGE:               Well, I just want to
23   start because -- I'm going to give the witness a
24   full chance to explain, but I just want to start
25   there.

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                                                                      Page 393
 1                                  FITZSIMMONS
 2             MS. ELLSWORTH:             Well, the witness was in
 3   midsentence, and now we've interrupted him.
 4        Q.   What do you recall about when you first
 5   saw this document?
 6        A.   I'm not sure what you mean.
 7        Q.   Did you see this document in 2013?
 8        A.   I'm not sure when I first saw it.
 9        Q.   Is your recollection of seeing this
10   document based on your prep for this deposition?
11             MS. ELLSWORTH:             Objection.
12        A.   The prep had nothing to do with what I
13   remembered or didn't remember.
14        Q.   You remember seeing this document before
15   you prepped for this deposition?
16        A.   Some of this information is familiar, but
17   we have lots of interactions with different parts
18   of Harvard.
19        Q.   So you don't remember when you saw this,
20   but you remember how incomplete it was, is your
21   testimony?
22             MS. ELLSWORTH:             Objection.
23        A.   You asked for a general impression and
24   that would have been my impression, but I don't
25   remember precisely when I first saw it.

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                                                                      Page 394
 1                                  FITZSIMMONS
 2        Q.   Do you know who Mark Hansen is?
 3        A.   I believe he is or was -- I don't know if
 4   he's still there because this was all a long time
 5   ago -- a member of the Office of Institutional
 6   Research.
 7        Q.   And do you remember speaking to him in
 8   2013 about this analysis?
 9        A.   Not specifically.
10        Q.   Do you remember speaking with Ms. Bever
11   about it in 2013?
12        A.   No.
13        Q.   Do you remember speaking to
14   Ms. Driver-Linn about it in 2013?
15        A.   Not specifically.
16        Q.   Generally?
17        A.   I don't remember specifically with whom I
18   talked.
19        Q.   Do you remember where you were the first
20   time you saw this document?
21             MS. ELLSWORTH:             Objection.
22        A.   Not specifically.
23        Q.   The only memory you have about this
24   document is a vague recollection of seeing it
25   sometime?

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                                                                      Page 395
 1                                  FITZSIMMONS
 2             MS. ELLSWORTH:             Objection.
 3        A.   That's the only thing can I say with any
 4   certainty.
 5        Q.   And when you say that you saw this
 6   document, do you remember looking specifically at
 7   the first five pages of this document?
 8        A.   I remember generally the kind of data that
 9   this represents.
10        Q.   Do you see the summary slide?
11        A.   I'm sorry.         Which page would that be on?
12        Q.   Page 2 of this document.
13        A.   Page 2.
14        Q.   The first bullet point says athletes and
15   legacies explain the difference in raw admit rates
16   for Asian and white applicants, correct?
17        A.   That's what it says.
18        Q.   Do you know why OIR was looking into the
19   differences between Asian and white applicants with
20   respect to athletes and legacies?
21             MS. ELLSWORTH:             Objection.
22        A.   I don't know specifically what their
23   motivation was.
24        Q.   Is information about the comparative
25   admission rates for athletes -- for Asians and

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                                                                         Page 398
 1                                  FITZSIMMONS
 2             MS. ELLSWORTH:             Are you asking now, or are
 3   you asking about a memory?
 4             MR. STRAWBRIDGE:               I don't know -- he said
 5   he remembered when he looked at it --
 6             MS. ELLSWORTH:             I'm just asking --
 7             MR. STRAWBRIDGE:               -- how incomplete it
 8   was.
 9             MS. ELLSWORTH:             -- if -- that was my
10   question.
11             MR. STRAWBRIDGE:               I'm asking if that's a
12   memory specific to this slide.
13             MS. ELLSWORTH:             Okay.        Object to form.
14        A.   I think whenever one creates such a model
15   just using very simple variables without having
16   information, the kind of information that we have
17   when we actually review individual applicants, you
18   are -- it is fraught with difficulty because you
19   don't really have a sense of what the real strength
20   of an application is.
21             So it's really impossible to say with any
22   certainty what this actually means without taking
23   into account the full range of information that you
24   would have in an individual application.
25        Q.   Is that your memory -- do you remember

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                                                                           Page 399
 1                                  FITZSIMMONS
 2   thinking that as soon as you saw this the first
 3   time?
 4             MS. ELLSWORTH:             Objection.
 5        A.   Yes.
 6        Q.   Okay.     And is that -- then why did you ask
 7   OIR to look into Early Action at one point?
 8             MS. ELLSWORTH:             Objection.
 9        A.   We had given up Early Action at one point
10   and then we were trying to make a decision about
11   whether to reinstitute early admissions.                      So we
12   asked them both before we gave up early admission
13   and then to give us some analyses during the
14   process.
15        Q.   What makes that subject to useful
16   statistical analysis, but the admissions decision
17   process not useful to the statistical analysis?
18             MS. ELLSWORTH:             Objection.
19        A.   I don't think anything is useless.
20   I think what you end up with is a limited
21   information.       And any time you posit a model, that
22   may be based on incomplete information.
23        Q.   And what information, in particular, do
24   you think that this model was missing?
25             MS. ELLSWORTH:             Objection.

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                                                                      Page 401
 1                                  FITZSIMMONS
 2   even with pluses and minuses would be very
 3   incomplete compared to looking at a real
 4   application and then comparing real applications
 5   holistically with all the others and then having
 6   the admissions committee vote.
 7        Q.   What did you do to ensure that OIR would
 8   have the complete information they needed to do
 9   this analysis?
10             MS. ELLSWORTH:             Objection.
11        A.   I'm not sure what the follow-up was.
12        Q.   Do you remember doing anything?
13             MS. ELLSWORTH:             Objection.
14        A.   I don't have a specific recollection.
15        Q.   Do you have any recollection of doing
16   anything after looking at these materials?
17             MS. ELLSWORTH:             Objection.
18        A.   I don't have a specific recollection of
19   doing -- of following it up directly.
20        Q.   Your answer is that you don't have a
21   specific recollection.               I'm asking you, just so
22   we're clear, do you have any recollection of doing
23   anything?
24             MS. ELLSWORTH:             Objection.
25        A.   No.

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                                                                      Page 402
 1                                  FITZSIMMONS
 2        Q.   Have you seen any documents that suggest
 3   you undertook any action after looking at this?
 4             MS. ELLSWORTH:             Objection.
 5        A.   Not that I can recall.
 6        Q.   Do you remember speaking to Ms. McGrath
 7   about this?
 8        A.   No.
 9        Q.   Do you remember speaking to Ms. Donahue
10   about this?
11        A.   About this data?
12        Q.   Yes.     And what the model said and didn't
13   say?
14             MS. ELLSWORTH:             Objection.
15        A.   I don't have a specific recollection of
16   talking with her either.
17        Q.   Did you reject the information that was
18   provided to you out of hand?
19             MS. ELLSWORTH:             Objection.
20        A.   I wouldn't categorize it in --
21   characterize it in that way.
22        Q.   Did you explain to OIR that what they did
23   was incomplete and they needed to do more work?
24             MS. ELLSWORTH:             Objection.
25        A.   We explained to them that -- the very

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                                                                            Page 403
 1                                  FITZSIMMONS
 2   nature of what they had done.                     And the very nature
 3   of producing a model is always going to be
 4   incomplete and they had already recognized that, as
 5   you can see from the report.
 6        Q.   You remember explaining that?
 7        A.   In general terms.
 8        Q.   And what do you remember specifically
 9   about -- how specifically do you remember that?
10             MS. ELLSWORTH:             Objection.
11        A.   I remember -- if you go to page, I think
12   it was 16, I have a very vague recollection of
13   acknowledging what they had said.                        And I don't
14   remember specifically whether I added, you know,
15   additional information, but that's quite possible.
16        Q.   Who do you remember talking to?
17        A.   We have many meetings with many people, so
18   I don't remember specifically who was in this
19   meeting, which was five, six years ago.
20        Q.   Did you tell them that you didn't think
21   they should pursue this anymore?
22             MS. ELLSWORTH:             Objection.
23        A.   I don't remember saying that.
24        Q.   Do you know whether, in fact, Ms. Yong
25   provided additional data to Mr. Hansen later in

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                                                                      Page 404
 1                                  FITZSIMMONS
 2   February 2013?
 3        A.   I don't recall specifically.
 4        Q.   Do you remember looking at page 5 of this
 5   report?
 6        A.   I don't remember specifically looking at
 7   it five, six years ago.
 8        Q.   Do you remember looking generally at it?
 9             MS. ELLSWORTH:             Objection.
10        A.   I don't have a clear recollection of
11   looking at the table.
12        Q.   Based on your testimony earlier today,
13   I understood you to say that you don't think that
14   race has any correlation, in your experience, with
15   the personal qualities that make someone attractive
16   to Harvard?
17             MS. ELLSWORTH:             Objection.
18        A.   I believe that as you read individual
19   applications of people from different ethnic
20   backgrounds that you will find that each person is
21   different one from the other and that personal,
22   strong and -- strong personal qualities are found
23   in all people, all ethnic groups, all backgrounds.
24        Q.   Can you think of any explanation why OIR's
25   review of the data as reflected on this chart

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                                                                      Page 405
 1                                  FITZSIMMONS
 2   indicated that whites appeared to have higher
 3   personal rating, on average, than Asian applicants,
 4   at least, when limited to the NLNA pool?
 5             MS. ELLSWORTH:             Objection.
 6        A.   I don't.
 7        Q.   Does that make any sense to you?
 8             MS. ELLSWORTH:             Objection.
 9        A.   I don't know how to respond to that
10   question.
11        Q.   Does it concern you that Asian applicants
12   may be being rated so much more differently than
13   white applicants on personal ratings?
14             MS. ELLSWORTH:             Objection.
15        A.   Again, each individual that we look at,
16   you know, is -- the applications would be read by
17   any number of people and then the entire admissions
18   committee would review the candidates who, you
19   know, might be admitted.
20             So there again, within every ethnic group
21   there are people with very strong personal
22   qualities.      So the focus is really always on the
23   individual and not on a category.
24        Q.   But if statistical information were to
25   suggest that Asian Americans were across the board

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                                                                              Page 409
 1                                  FITZSIMMONS
 2   can ask that question after a break.                          It's been an
 3   hour and 20 minutes.
 4             THE VIDEOGRAPHER:               Time now is 1858.
 5   We're off the record.
 6             (Proceedings interrupted at 6:58 p.m. and
 7        reconvened at 7:13 p.m.)
 8             THE VIDEOGRAPHER:               Time now is 1913.
 9   We're on the record.
10             MR. STRAWBRIDGE:
11   BY MR. STRAWBRIDGE:            The question before we broke
12   was:    Have you read Jerome Karabel's book The
13   Chosen?
14             MS. ELLSWORTH:             Objection.
15        A.   Yes.
16        Q.   Do you believe that he accurately
17   describes the history of Harvard's admissions
18   process?
19             MS. ELLSWORTH:             Objection.
20        A.   I read his account carefully.                        I don't
21   have any independent corroboration of what was in
22   the book.
23        Q.   Is it your testimony that you don't have
24   any idea whether or not Harvard's admissions
25   process was abused in order to limit the number of

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                                                                      Page 410
 1                                  FITZSIMMONS
 2   Jewish students on campus?
 3             MS. ELLSWORTH:             Objection.
 4        Q.   Last century?
 5             MS. ELLSWORTH:             Objection.
 6        A.   What I was saying is that the holistic
 7   admissions process of which I have been a part
 8   since I arrived in the office, you know, certainly
 9   is not like the one you describe.
10        Q.   But my question was just is it possible
11   that a holistic admissions process could
12   nonetheless be abused in a discriminatory fashion?
13             MS. ELLSWORTH:             Objection.
14        A.   Again, I don't know exactly whether what
15   was described in that book or what I've read in
16   other accounts was anything like holistic
17   admissions processes that exist today.
18        Q.   Do you think it's impossible for anybody
19   to ever abuse a holistic admissions process?
20             MS. ELLSWORTH:             Objection.
21        A.   I think it would be impossible to abuse
22   the admissions process that -- that we have.
23        Q.   Nothing in this report gave you any
24   concerns?
25             MS. ELLSWORTH:             Objection.

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                                                                      Page 414
 1                                  FITZSIMMONS
 2   allegations made in Mr. Unz's article?
 3             MS. ELLSWORTH:             Objection.
 4        A.   Yes.
 5        Q.   And the Office of Institutional Research,
 6   whether at your direction or not, presented you
 7   with this report at some point in 2013?
 8             MS. ELLSWORTH:             Objection.
 9        A.   You mean this report?
10        Q.   Yes.
11        A.   I don't remember if it was 2013 or not.
12        Q.   Do you remember whether it was before or
13   after this lawsuit was filed?
14             MS. ELLSWORTH:             Objection.
15        A.   I don't.        I'm just looking at the date
16   here.     It's 2012 date.
17        Q.   Yeah.     I'll represent that this file has a
18   name that people in OIR have testified indicated it
19   was created in January of 2013, notwithstanding the
20   date on the cover.
21        A.   (Indicating).
22        Q.   Do you have any reason to doubt that?
23             MS. ELLSWORTH:             Objection.
24        A.   I'm looking at this, and that would give
25   me a reason to doubt it.

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                                                                      Page 415
 1                                  FITZSIMMONS
 2        Q.   But you don't remember when you looked at
 3   this?
 4        A.   No.
 5        Q.   And do you remember doing any follow-up?
 6             MS. ELLSWORTH:             Objection, asked and
 7   answered.
 8        A.   No.
 9        Q.   Do you recall asking OIR to look into
10   whether or not low-income students who apply to
11   Harvard receive a tip in the admissions process?
12        A.   Yes.
13        Q.   And when did you ask OIR to look into
14   that?
15        A.   I don't recall precisely.
16        Q.   Do you recall whether or not it was in the
17   spring of 2013?
18        A.   I don't.
19        Q.   Your recollection with respect to the
20   Exhibit 17 that we were just talking about --
21        A.   Yes.
22        Q.   -- do you remember seeing that information
23   on one occasion or more than one occasion?
24        A.   My recollection would be one occasion, but
25   I don't recall precisely.

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                                                                      Page 416
 1                                  FITZSIMMONS
 2        Q.   Do you know whether it was at a meeting
 3   that you had with the Office of Institutional
 4   Research in February of 2013?
 5        A.   I don't specifically.
 6        Q.   But you only remember seeing and having
 7   this reaction to the extent that you recall it on
 8   one occasion?
 9             MS. ELLSWORTH:             Objection.
10        A.   I have a general recollection that I did
11   see it on at least one occasion.
12        Q.   But do you remember seeing it on more than
13   one occasion?
14             MS. ELLSWORTH:             Objection, asked and
15   answered.
16        A.   No.
17             MR. STRAWBRIDGE:               Mark this as Exhibit 18.
18             (Exhibit 18, HARV00075060, marked for
19        identification.)
20             THE WITNESS:           Excuse me.
21             Yes.
22        Q.   Do you recognize this e-mail?
23        A.   I don't recall the e-mail.
24        Q.   Does this refresh your recollection as to
25   whether or not you asked for information about a

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                                                                      Page 423
 1                                  FITZSIMMONS
 2        A.   Because economic background is a vital
 3   piece of putting together a class that is
 4   educationally beneficial for all of its members.
 5             And we believe it's very important that
 6   all of our undergraduates learn from each other,
 7   you know, throughout the experience so that when
 8   they are out after graduation, they would become,
 9   we hope, much more effective citizens and citizen
10   leaders for having been educated in a variety of
11   settings by people from economic -- very different
12   economic backgrounds, which is a very important
13   issue in America.
14        Q.   Do you remember getting the report on the
15   tip for low-income admissions?
16             MS. ELLSWORTH:             Objection.
17        A.   I do have a recollection.
18        Q.   What did you do with it?
19             MS. ELLSWORTH:             Objection.
20        A.   We shared the information with staff
21   members so that they would be equipped better when
22   they're doing their many public presentations for
23   questions about how interested Harvard is about
24   attracting students from all economic backgrounds
25   as part of our effort.

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                                                                      Page 424
 1                                  FITZSIMMONS
 2             It relates to our first-generation student
 3   effort, our Harvard Financial Aid Initiative
 4   effort, to Harvard College connection, to our
 5   undergraduate recruiting program that having the
 6   information that students from modest economic
 7   backgrounds could certainly be reviewed with great
 8   care in the process.
 9             That was a very important message that we
10   felt it's critical to deliver in an America that is
11   really quite divided by economic background issues.
12        Q.   Did you share the memo itself with the
13   staff?
14        A.   Pardon?
15        Q.   Did you share the memo itself with the
16   staff?
17        A.   I don't recall specifically if I shared it
18   in paper form or whether I had someone share some
19   of the information in a slide, PowerPoint form or
20   whether we simply discussed the issue.
21             (Exhibit 20, HARV00023547 - 23555, marked
22        for identification.)
23             MR. STRAWBRIDGE:               Take a look at what's
24        been marked Exhibit 20.
25             THE WITNESS:           Yes.

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                                                                      Page 425
 1                                  FITZSIMMONS
 2        Q.   Did you get a chance to review this memo?
 3        A.   I have.
 4        Q.   Is this the memo that you received on
 5   May 1st about the OIR's analysis regarding the
 6   extent to which low-income students receive a tip
 7   in Harvard's process?
 8        A.   I didn't remember specifically it was
 9   May 1st, but I accept that.
10        Q.   All right.         Having looked at this
11   document, do you remember providing this document
12   to anybody else in the admissions office?
13        A.   I don't have a specific recollection of
14   providing the whole document to others in the
15   process.
16        Q.   Do you remember providing information
17   about the document's findings regarding Asian
18   Americans and, particularly, the effect of being
19   Asian on admissions probabilities with anyone in
20   the admissions office?
21             MS. ELLSWORTH:             Objection.
22        A.   I don't have a recollection of that.
23        Q.   Did you share that with the staff so that
24   they could inform the public about how Harvard's
25   admission process works?

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                                                                      Page 426
 1                                  FITZSIMMONS
 2        A.   Again, I don't have a specific
 3   recollection of exactly what was done with this.
 4        Q.   Do you have any recollection?
 5             MS. ELLSWORTH:             Objection, asked and
 6   answered.
 7        A.   The issue we were concerned with was the
 8   issue of whether or not low-income students
 9   received any special look in the admissions
10   process, so that it was a factor that could in an
11   individual case be one factor that might lead staff
12   members to evaluate an application more strongly,
13   and then, once in committee, to have people end up
14   voting for that candidate.
15             So that was really the focus, that was the
16   request, to provide information on that,
17   especially -- that was the focus.
18        Q.   And did you trust the findings that OIR
19   reported back to you?
20        A.   Again, with any statistical analysis,
21   as -- you can look, for example, on, I guess it
22   would be 23549, the researchers, you know, indicate
23   that the approach has any number of limitations.
24             So I think what we would do with any study
25   is simply look at it and note that there was a

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                                                                      Page 427
 1                                  FITZSIMMONS
 2   suggestion that, you know, that, you know, that the
 3   research previously done using different data by
 4   Bowen, Kurzweil, and Tobin that certainly, that the
 5   data we looked at, we came to a different
 6   conclusion, recognizing that both studies would be
 7   subject to all the usual limitations with any study
 8   that certainly the researchers themselves indicated
 9   that.
10        Q.   Do you know in fact --
11             MR. STRAWBRIDGE:               Strike that.
12        Q.   Why didn't you share the information --
13             MR. STRAWBRIDGE:               Strike that.
14        Q.   Did you share the information about the
15   effect of being Asian in this study with anyone
16   else in the admissions office?
17             MS. ELLSWORTH:             Objection, asked and
18   answered.
19        A.   I don't recall sharing that specific
20   finding or other findings.
21        Q.   Did you do anything to follow up on it?
22             MS. ELLSWORTH:             Objection.
23        A.   No.
24        Q.   Did you ask to dig into it and ask OIR to
25   take another look at it?

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                                                                      Page 428
 1                                  FITZSIMMONS
 2             MS. ELLSWORTH:             Objection.
 3        A.   Not that I recall.
 4        Q.   Did you raise any concerns that you wanted
 5   to make sure that what they were finding here
 6   wasn't the result of discrimination?
 7             MS. ELLSWORTH:             Objection.
 8        A.   We always are -- look carefully at every
 9   applicant and -- to be certain that we give every
10   applicant a fair and thorough hearing.
11        Q.   Did you make changes to your admissions
12   process in response to the information that was
13   presented in this report?
14        A.   No.
15        Q.   Did you make any changes to your
16   admissions process in response to the information
17   that was presented -- did you make any changes to
18   your admissions process in response to the report
19   we looked at earlier?              Exhibit 17?
20        A.   Not that I recall.
21        Q.   I guess I'm still a little unclear about
22   your testimony with respect to the finding on
23   low-income admissions from here.
24             Did you share that information with other
25   people in the office?

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                                                                           Page 429
 1                                  FITZSIMMONS
 2             MS. ELLSWORTH:             Objection, asked and
 3   answered.
 4        A.   The low-income piece?
 5        Q.   Yes.
 6        A.   Yes, in some form.
 7        Q.   And do you remember what form that was?
 8        A.   I don't.
 9        Q.   Do you know whether it included the table
10   that appears on page, I guess it has the page with
11   the Bates stamp 3550 in the bottom right corner?
12        A.   3550?     I don't recall.
13        Q.   Do you know whether you shared Table 4
14   with anybody in the admissions office?                        Exhibit 4,
15   I'm sorry, the last page of this document?
16        A.   I don't recall.
17        Q.   Did you ever discuss the findings in this
18   report with respect to the effect of being Asian in
19   the admissions process with Dean Smith?
20             MS. ELLSWORTH:             Objection.
21        A.   Not that I recall.
22        Q.   With President Faust?
23             MS. ELLSWORTH:             Objection.
24        A.   Not that I recall.
25        Q.   With Dean Khurana?

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                                                                                 Page 437
 1                                  FITZSIMMONS
 2   incomplete?
 3        A.   By their very nature, all -- all studies
 4   of this sort would be incomplete.
 5        Q.   Did you tell anyone when you saw this
 6   document that it was of no value, given how
 7   incomplete it was?
 8             MS. ELLSWORTH:             Objection.
 9        A.   I did not say it was of no value.
10        Q.   Did you -- do you recall anyone else
11   having any reactions to this document?
12             MS. ELLSWORTH:             Objection.               I'll remind
13   the witness not to disclose any communications with
14   counsel in answering the question.
15        A.   I don't recall.
16        Q.   Do you know who else saw this document?
17             MS. ELLSWORTH:             Objection.
18        A.   I don't.
19        Q.   If you can turn to the last page of the
20   document.     Do you see that?
21        A.   Yes.
22        Q.   And it says in the first bullet point
23   there, well, the slide is entitled Potential Next
24   Steps; is that correct?
25        A.   Yes.

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                                                                      Page 442
 1                                  FITZSIMMONS
 2   the question without disclosing actions taken at
 3   the direction of counsel or communications with
 4   counsel.
 5             So I think next question, please.
 6        Q.   Are you going to follow that instruction?
 7             MS. ELLSWORTH:             It's not an instruction.
 8   He's given his answer.
 9             MR. STRAWBRIDGE:               I thought you instructed
10   him not to answer.
11             MS. ELLSWORTH:             I didn't.
12        Q.   Do you remember seeing this report at any
13   other point in time?
14        A.   Not to my recollection.
15        Q.   The information in this report?
16             MS. ELLSWORTH:             Objection.
17        A.   I don't have a specific recollection.
18        Q.   Does anything in this report give you
19   concern about Harvard's admissions process?
20             MS. ELLSWORTH:             Objection.
21        A.   No.
22        Q.   Did it give you any concerns at the time?
23             MS. ELLSWORTH:             Objection.
24        A.   No.
25        Q.   What evidence of Asian discrimination do

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                                                                      Page 443
 1                                  FITZSIMMONS
 2   you think would be sufficient to make you concerned
 3   and conduct a further investigation?
 4             MS. ELLSWORTH:             Objection.
 5        A.   We are very careful in our admissions
 6   process to review each application with great care
 7   of students from all backgrounds.
 8             And we discuss these applicants
 9   holistically and with all the information that we
10   have with our 40 admissions committee members and
11   faculty members, and we would always be vigilant
12   about any suggestion of discrimination against any
13   person.
14        Q.   Do you think that your testimony about how
15   you reacted to these reports and the follow-up that
16   did or did not happen is consistent with your
17   statement just now that you would always be
18   vigilant about allegations of discrimination?
19             MS. ELLSWORTH:             Objection.
20        A.   Yes.
21        Q.   Do you think you exercised vigilance, sir?
22             MS. ELLSWORTH:             Objection.
23        A.   Yes.
24        Q.   And do you think it was consistent with
25   the exercise of vigilance not to send any of this

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                                                                      Page 444
 1                                  FITZSIMMONS
 2   information to anyone else in the admissions
 3   office?
 4             MS. ELLSWORTH:             Objection.
 5        A.   It was not my report.
 6        Q.   Do you think it was consistent with the
 7   exercise of vigilance not to discuss the
 8   information in these reports about the effect of
 9   being Asian in the admissions process with anyone
10   else in the admissions office?
11             MS. ELLSWORTH:             Objection.
12        A.   Could you repeat that question?
13             MR. STRAWBRIDGE:               You can read it back.
14             (Preceding question read.
15        A.   Yes.
16        Q.   Do you think it was consistent with
17   vigilance for any allegation of discrimination
18   against Asian Americans not to ask the Office of
19   Institutional Research to do further work on these
20   reports?
21             MS. ELLSWORTH:             Objection.
22        A.   Yes.
23        Q.   Do you have any view as to what a
24   non-vigilant response would look like?
25             MS. ELLSWORTH:             Objection.

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                                                                           Page 445
 1                                  FITZSIMMONS
 2        A.   No.
 3        Q.   Can you explain how it would be any
 4   different than what your response was?
 5             MS. ELLSWORTH:             Objection.
 6        A.   I would not be in a position to make an
 7   evaluation.
 8             MS. ELLSWORTH:             How much time do we have
 9   left?
10             MR. STRAWBRIDGE:               You know what?       Why
11   don't we take a quick break.                    We can probably do
12   one short segment and make this more efficient for
13   everybody.
14             THE VIDEOGRAPHER:               Time now is 2006.         Off
15   the record.
16             (Proceedings interrupted at 8:06 p.m. and
17        reconvened at 8:20 p.m.)
18             THE VIDEOGRAPHER:               The time now is 2020.
19   On the record.
20             (Exhibit 23, HARV00027658 - 27659, marked
21        for identification.)
22             MR. STRAWBRIDGE:               Handing you what's been
23        marked as Exhibit 23.
24             THE WITNESS:           Yes.
25        Q.   Have you had a chance to review this?

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                                                                      Page 452
 1                                  FITZSIMMONS
 2   ABAFAOILSS meetings?
 3        A.   Usually.
 4        Q.   And does that representative participate
 5   in the round-robin exchange at those meetings?
 6             MS. ELLSWORTH:             Objection.
 7        A.   I'm not sure specifically whether every
 8   year our representative has participated in the
 9   round-robin.
10        Q.   In the past has data from the round-robin
11   been given to you following the ABAFAOILSS
12   meetings?
13        A.   I can recall some years getting some data.
14        Q.   What did you do with that data?
15        A.   Simply noted it.
16        Q.   And why did you note it?
17             MS. ELLSWORTH:             Objection.
18        A.   As information that it would be useful in
19   getting to know what happens beyond Harvard and our
20   profession.
21        Q.   Is it useful for you to understand the
22   context of what other Ivy League schools are doing
23   with respect to their admissions?
24             MS. ELLSWORTH:             Objection.
25        A.   It could be useful.

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                                                                         Page 453
 1                                  FITZSIMMONS
 2        Q.   Does that include it's useful to have
 3   information about the ethnic composition of their
 4   admitted classes?
 5             MS. ELLSWORTH:             Objection.
 6        A.   It could be useful.
 7        Q.   And to what use do you recall putting that
 8   data from ABAFAOILSS?
 9             MS. ELLSWORTH:             Objection.
10        A.   Simply to have this information.                    And, of
11   course, this information would almost always be
12   publicly available.
13        Q.   Does the ABAFAOILSS information include
14   information about the applications that were filed
15   by various ethnic applicants?
16             MS. ELLSWORTH:             Objection.
17        A.   I don't recall specifically whether
18   institutions would provide that data per se.
19        Q.   Do you know whether admission rate
20   information is provided?
21        A.   I do not.
22        Q.   Does Harvard publicly report its admission
23   rate by ethnicity?
24        A.   No.
25        Q.   Why not?

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                                                                      Page 459
 1   ERRATA SHEET
 2   NAME OF CASE: SFFA v. Harvard Corp.
 3   DATE OF DEPOSITION: August 3, 2017
 4   NAME OF WITNESS:          William Fitzsimmons
 5   Reason codes:
 6            1.   To clarify the record.
 7            2.   To conform to the facts.
 8            3.   To correct transcription errors.
 9   Page _____ Line _____ Reason _____
10   From ________________ to __________________
11   Page _____ Line _____ Reason _____
12   From ________________ to __________________
13   Page _____ Line _____ Reason _____
14   From ________________ to __________________
15   Page _____ Line _____ Reason _____
16   From ________________ to __________________
17   Page _____ Line _____ Reason _____
18   From ________________ to __________________
19   Page _____ Line _____ Reason _____
20   From ________________ to __________________
21   Page _____ Line _____ Reason _____
22   From ________________ to __________________
23   Page _____ Line _____ Reason _____
24   From ________________ to __________________
25        William Fitzsimmons ___________________

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           August 3, 2017 Deposition of William Fitzsimmons – Errata Sheet

Page       Line         Instruction                                  Reason for Change
6          11-12        Change “dean of admissions and financial     Grammar
                        aid” to “Dean of Admissions and Financial
                        Aid”
9          4            Change “Counsel” to “counsel”                Grammar
11         10           Change “Counsel” to “counsel”                Grammar
16         14           Change “Counsel” to “counsel”                Grammar
17         2            Change “office of the general counsel” to    Grammar
                        “Office of the General Counsel”
17         18-19        Change “Counsel” to “counsel”                Grammar
18         5            Change “Counsel” to “counsel”                Grammar
26         23           Change “with” to “in”                        Clarification
26         24           Change “world. Today” to “world from         Clarification
                        today with”
29         13           Change “the – ” to “that”                    Clarification
31         21-22        Change “Alfred Jewitt became dean of         Typographical error
                        admissions and financial aid” to “L. Fred
                        Jewett became Dean of Admissions and
                        Financial Aid”
33         18-19        Change “vice president for alumni affairs    Grammar
                        to development” to “Vice President for
                        Alumni Affairs and Development”
39         17           Delete “that”                                Clarification
40         9            Capitalize “College Board”                   Grammar
40         22           Change “revolutionized” to                   Typographical error
                        “revolutionary”
41         7            Delete “as”                                  Clarification
41         13           Change “group, is a” to “is a group”         Typographical error
42         7            Change “question that was that” to           Typographical error
                        “question was that”
43         9            Delete “that that person”                    Clarification
45         12           Delete “that”                                Typographical error
50         14           Change “attributes. So it” to “attributes,   Clarification
                        HFAI status”
87         15           Change “as” to “is”                          Typographical error
88         4            Change “as” to “if”                          Typographical error
91         8            Change “common application” to               Grammar
                        “Common Application”
92         18           Change “backgrounds. That” to                Typographical error
                        “backgrounds that”
95         9            Change “report” to “reported”                Typographical error
98         22           Change “common application” to               Grammar
                        “Common Application”
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105         6           Change “common application” to               Grammar
                        “Common Application”
111         19          Change “There are –” to “The”                Clarification
125         11          Change “I’m” to “I”                          Clarification
125         16          Change “Counsel” to “counsel”                Grammar
125         23-24       Change “common application” to               Grammar
                        “Common Application”
133         25          Delete “that”                                Clarification
154         23          Change “it votes” to “they vote”             Clarification
163         20          Change “logistic” to “logistic regression”   Typographical error
171         3           Change “Counsel” to “counsel”                Grammar
172         18          Change “been aware” to “has been aware”      Typographical error
176         20          Change “come up --” to “come up with”        Clarification
179         5           Delete “that”                                Clarification
191         18          Change “schools and scholarships” to         Grammar
                        “Schools and Scholarships”
192         18          Change “socioeconomic, ethically” to         Typographical error
                        “socioeconomically, ethnically”
203         15-16       Change “65,000” to “$65,000” and             Grammar
                        “80,000” to “$80,000”
204         7           Omit “aid”                                   Clarification
206         15          Change “ethnic precise” to “precise”         Clarification
208         20          Change “It -- ” to “It is”                   Typographical error
218         14          Change “Fisher one” to “Fisher I”            Grammar
221         13          Change “Be very much” to “It would be        Typographical error
                        very much”
229         10          Change “office of the general counsel” to    Grammar
                        “Office of the General Counsel”
230         7-8         Change “office of the general counsel” to    Grammar
                        “Office of the General Counsel”
234         9           Change “also is” to “also it is”             Typographical error
240         25          Delete “net”                                 Typographical error
241         13          Change “common application” to               Grammar
                        “Common Application”
246         2           Change “that” to “from”                      Clarification
246         4           Change “anyone else say; someone who’d”      Clarification
                        to “anyone else. Say someone had”
246         5           Change “when” to “or”; change “could” to     Clarification
                        “it could”
250         16          Delete “it – make all the – really is what   Typographical error
                        happens,”
253         5           Change “vital” to “it is vital”              Clarification
253         7           Delete “be -- you know, it --”               Clarification
255         9           Change “common application” to               Grammar
                        “Common Application”
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259         16          Delete “not”                                Clarification
262         25          Change “Just say again” to “Again”          Clarification
268         7           Change “Harvard Club” to “a Harvard         Typographical error
                        club”
268         10          Change “schools and scholarships” to        Grammar
                        “Schools and Scholarships”
272         10          Change “schools and scholarships” to        Grammar
                        “Schools and Scholarships”
272         12          Change “competition” to “competition is”    Clarification
295         2           Delete “—a docket with”                     Clarification
299         23          Change “shares” to “chairs”                 Typographical error
305         2           Change “tor” to “for”                       Typographical error
311         22          Change “necessary” to “necessarily”         Typographical error
322         14          Change “Be” to “It would be”                Typographical error
324         11          Change “Be” to “It would be”                Typographical error
332         14          Change “interrogative” to “interrogatory”   Clarification
375         21          Change “Counsel” to “counsel”               Grammar
424         4           Change “connection” to “Connection”         Typographical error
428         9           Delete “and— ”                              Clarification
432         13          Change “by very” to “by the very”           Typographical error
435         17          Change “university general counsel” to      Grammar
                        “University General Counsel”
452         18          Delete “it”                                 Clarification
452         19          Change “and” to “in”                        Typographical error
